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                                                                                                   UNITED STATES
                                                                                       SECURITIES AND EXCHANGE COMMISSION
                                                                                               Washington, D.C. 20549

                                                                                                       FORM 10-K
                                                                                         (Mark One)
                                                   tZ ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(D) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                          FOR THE FISCAL YEAR ENDED MAY 31, 2020

                                                                                                             OR


                                                 0 TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(D) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                        FOR THE TRANSITION PERIOD FROM                          TO

                                                                                                Commission File No. 1-10635




                                                                                                     NIKE, Inc.
                                                                                  (Exact name of Registrant as specified in its charter)

                                                   Oregon                                                                                                     XX-XXXXXXX
                                 (State or other jurisdiction of incorporation)                                                                     (IRS Employer Identification No.)
                                                                                  One Bowerman Drive, Beaverton, Oregon 97005-6453
                                                                                    (Address of principal executive offices and zip code)
                                                                                                       (503) 671-6453
                                                                                    (Registrant's telephone number, including area code)

                                                                        SECURITIES REGISTERED PURSUANT TO SECTION 12(B) OF THE ACT:
                    Class B Common Stock                                                                     NKE                                                           New York Stock Exchange
                        (Title of each class)                                                          (Trading symbol)                                          (Name of each exchange on which registered)
                                                                        SECURITIES REGISTERED PURSUANT TO SECTION 12(G) OF THE ACT:
                                                                                                            NONE


Indicate by check mark:                                                                                                                                                             YES                       NO
 • if the registrant is awell-known seasoned issuer, as defined in Rule 405 of the Securities Act.

 • if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act.

 • whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12                                                0
   months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90
   days.
 • whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T (§232.405 of                         Izr
   this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files).
 • whether the registrant is alarge accelerated filer, an accelerated filer, anon-accelerated filer, asmaller reporting company or an emerging growth company. See the definitions of "large accelerated filer,"
   "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2 of the Exchange Act.

           Large accelerated filer                         Accelerated filer                       Non-accelerated filer                    Smaller reporting company                         Emerging growth company
 • if an emerging growth company, if the registrant has elected not to use the extended transition period for complying with any new or revised financial                                           0
   accounting standards provided pursuant to Section 13(a) of the Exchange Act.
 • whether the registrant has filed areport on and attestation to its management's assessment of the effectiveness of its internal control over financial reporting
   under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit report.

 • whether the registrant is ashell company (as defined in Rule 12b-2 of the Act).


As of November 30, 2019, the aggregate market values of the Registrant's Common Stock held by non-affiliates were:

Class A                                                                                                                                                                                                    7,387,322,889
Class B                                                                                                                                                                                                  116,456,809,401

                                                                                                                                                                                                         123,844,132,290


As of July 17, 2020, the number of shares of the Registrant's Common Stock outstanding were:
Class A                                                                                                                                                                                                     315,017,252

Class B                                                                                                                                                                                                    1,244,871,297

                                                                                                                                                                                                           1,559,888,549

                                                                                    DOCUMENTS INCORPORATED BY REFERENCE:
Parts of Registrant's Proxy Statement for the Annual Meeting of Shareholders to be held on September 17, 2020 are incorporated by reference into Part III of this Report.
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PART

ITEM 1. BUSINESS

GENERAL
NIKE, Inc. was incorporated in 1967 under the laws of the State of Oregon. As used in this report, the terms "we," "us," "NIKE" and the "Company" refer to NIKE, Inc. and its
predecessors, subsidiaries and affiliates, collectively, unless the context indicates otherwise. Our NIKE digital commerce website is located at www.nike.com. On our NIKE
corporate website, located at investors.nike.com, we post the following filings as soon as reasonably practicable after they are electronically filed with, or furnished to, the
United States Securities and Exchange Commission (the "SEC"): our annual report on Form 10-K, our quarterly reports on Form 10-Q, our current reports on Form 8-K and
any amendments to those reports filed or furnished pursuant to Section 13(a) or 15(d) of the Securities and Exchange Act of 1934, as amended. Our definitive Proxy
Statements are also posted on our corporate website. All such filings on our corporate website are available free of charge. Copies of these filings are also available on the
SEC's website (www.sec.gov). Also available on our corporate website are the charters of the committees of our Board of Directors, as well as our corporate governance
guidelines and code of ethics; copies of any of these documents will be provided in print to any shareholder who submits a request in writing to NIKE Investor Relations, One
Bowerman Drive, Beaverton, Oregon 97005-6453.


Our principal business activity is the design, development and worldwide marketing and selling of athletic footwear, apparel, equipment, accessories and services. NIKE is the
largest seller of athletic footwear and apparel in the world. We sell our products directly to consumers through NIKE-owned retail stores and digital platforms (which we refer to
collectively as our "NIKE Direct" operations) and to retail accounts and amix of independent distributors, licensees and sales representatives in virtually all countries around
the world. We also offer interactive consumer experiences through our digital platforms. Virtually all of our products are manufactured by independent contractors. Nearly all
footwear and apparel products are produced outside the United States, while equipment products are produced both in the United States and abroad.




PRODUCTS
We focus our NIKE Brand product offerings in six key categories: Running, NIKE Basketball, the Jordan Brand, Football (Soccer), Training and Sportswear (our sports-inspired
lifestyle products). We also market products designed for kids, as well as for other athletic and recreational uses such as American football, baseball, cricket, golf, lacrosse,
skateboarding, tennis, volleyball, walking, wrestling and other outdoor activities.


NIKE's athletic footwear products are designed primarily for specific athletic use, although alarge percentage of the products are worn for casual or leisure purposes. We place
considerable emphasis on innovation and high-quality construction in the development and manufacturing of our products. Sportswear, the Jordan Brand and Running are
currently our top-selling footwear categories and we expect them to continue to lead in footwear sales.


We also sell sports apparel covering the above-mentioned categories, which feature the same trademarks and are sold predominantly through the same marketing and
distribution channels as athletic footwear. Our sports apparel, similar to our athletic footwear products, is designed primarily for athletic use and also demonstrates our
commitment to innovation and high-quality construction. Sportswear, Training and Running are currently our top-selling apparel categories and we expect them to continue to
lead in apparel sales. We often market footwear, apparel and accessories in "collections" of similar use or by category. We also market apparel with licensed college and
professional team and league logos.


We sell a line of performance equipment and accessories under the NIKE Brand name, including bags, socks, sport balls, eyewear, timepieces, digital devices, bats, gloves,
protective equipment and other equipment designed for sports activities. We also sell small amounts of various plastic products to other manufacturers through our wholly-
owned subsidiary, NIKE IHM, Inc., doing business as Air Manufacturing Innovation.


Our Jordan Brand designs, distributes and licenses athletic and casual footwear, apparel and accessories predominantly focused on basketball using the Jumpman trademark.
Sales and operating results for Jordan Brand products are reported within the respective NIKE Brand geographic operating segments.


Our wholly-owned subsidiary brand, Converse, headquartered in Boston, Massachusetts, designs, distributes and licenses casual sneakers, apparel and accessories under
the Converse, Chuck Taylor, All Star, One Star, Star Chevron and Jack Purcell trademarks. Operating results of the Converse brand are reported on astand-alone basis.




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In addition to the products we sell to our wholesale customers and directly to consumers through our NIKE Direct operations, we have also entered into license agreements
that permit unaffiliated parties to manufacture and sell, using NIKE-owned trademarks, certain apparel, digital devices and applications and other equipment designed for
sports activities.




SALES AND MARKETING
We experience moderate fluctuations in aggregate sales volume during the year. Historically, revenues in the first and fourth fiscal quarters have slightly exceeded those in the
second and third quarters. However, the mix of product sales may vary considerably as a result of changes in seasonal and geographic demand for particular types of
footwear, apparel and equipment, as well as other macroeconomic, operating and logistics-related factors, as evidenced by the impact of the COVID-19 pandemic.


Because NIKE is aconsumer products company, the relative popularity and availability of various sports and fitness activities, as well as changing design trends, affect the
demand for our products. We must, therefore, respond to trends and shifts in consumer preferences by adjusting the mix of existing product offerings, developing new
products, styles and categories and influencing sports and fitness preferences through extensive marketing. Failure to respond in atimely and adequate manner could have a
material adverse effect on our sales and profitability. This is acontinuing risk. Refer to Item 1A. Risk Factors.


We report our NIKE Brand operations based on our internal geographic organization. Each NIKE Brand geographic segment operates predominantly in one industry: the
design, development, marketing and selling of athletic footwear, apparel and equipment. The Company's reportable operating segments for the NIKE Brand are: North
America; Europe, Middle East & Africa (EMEA); Greater China; and Asia Pacific & Latin America (APLA), and include results for the NIKE and Jordan brands. The Hurley
brand results, prior to its divestiture in the beginning of the third quarter of fiscal 2020, are included in North America. Sales through our NIKE Direct operations are managed
within each geographic operating segment.


Converse is also a reportable operating segment and operates predominately in one industry: the design, marketing, licensing and selling of casual sneakers, apparel and
accessories. Converse direct to consumer operations, including digital commerce, are reported within the Converse operating segment results.




UNITED STATES MARKET
For fiscal 2020, NIKE Brand and Converse sales in the United States accounted for approximately 39% of total revenues, compared to 41% and 42% for fiscal 2019 and fiscal
2018, respectively. We sell our NIKE Brand, Jordan Brand and Converse products to thousands of retail accounts in the United States, including amix of footwear stores,
sporting goods stores, athletic specialty stores, department stores, skate, tennis and golf shops and other retail accounts. In the United States, we utilize NIKE sales offices to
solicit such sales. During fiscal 2020, our three largest United States customers accounted for approximately 24% of sales in the United States.


Our NIKE Direct and Converse direct to consumer operations sell NIKE Brand, Jordan Brand and Converse products to consumers through various digital platforms. In
addition, our NIKE Direct and Converse direct to consumer operations sell products through the following number of retail stores in the United States:

U.S. RETAIL STORES                                                                                                                                                        NUMBER
NIKE Brand factory stores                                                                                                                                                        212
NIKE Brand in-line stores (including employee-only stores)                                                                                                                        28
Converse stores (including factory stores)                                                                                                                                        98
TOTAL                                                                                                                                                                            338

In the United States, NIKE has seven significant distribution centers. Four are located in Memphis, Tennessee, two of which are owned and two of which are leased. Two other
distribution centers, one located in Indianapolis, Indiana and one located in Dayton, Tennessee, are leased and operated by third-party logistics providers. One distribution
center for Converse is located in Ontario, California, which is leased. There are other smaller distribution facilities located in various parts of the United States, some of which
are leased or operated by third-parties.




INTERNATIONAL MARKETS
For fiscal 2020, non-U.S. NIKE Brand and Converse sales accounted for approximately 61% of total revenues, compared to 59% and 58% for fiscal 2019 and fiscal 2018,
respectively. We sell our products to retail accounts, through our own NIKE Direct operations and through a mix of independent distributors, licensees and sales
representatives around the world. We sell to thousands of retail accounts and ship products from 74 distribution centers outside of the United States. During fiscal 2020, NIKE's
three largest customers outside of the United States accounted for approximately 15% of total non-U.S. sales.



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In addition to NIKE and Converse owned digital commerce platforms in over 45 countries, our NIKE Direct and Converse direct to consumer businesses operate the following
number of retail stores outside the United States:

NON-U.S. RETAIL STORES                                                                                                                                                 NUMBER
NIKE Brand factory stores                                                                                                                                                    643
NIKE Brand in-line stores (including employee-only stores)                                                                                                                    52
Converse stores (including factory stores)                                                                                                                                    63
TOTAL                                                                                                                                                                        758

International branch offices and subsidiaries of NIKE are located in Argentina, Australia, Austria, Belgium, Bermuda, Brazil, Canada, Chile, China, Croatia, the Czech Republic,
Denmark, Finland, France, Germany, Greece, Hong Kong, Hungary, India, Indonesia, Ireland, Israel, Italy, Japan, Korea, Macau, Malaysia, Mexico, the Netherlands,
New Zealand, Norway, Panama, the Philippines, Poland, Portugal, Russia, Singapore, Slovakia, Slovenia, South Africa, Spain, Sri Lanka, Sweden, Switzerland, Taiwan,
Thailand, Turkey, the United Arab Emirates, the United Kingdom, Uruguay and Vietnam.




SIGNIFICANT CUSTOMER
No customer accounted for 10% or more of our consolidated net Revenues during fiscal 2020.




PRODUCT RESEARCH, DESIGN AND DEVELOPMENT
We believe our research, design and development efforts are key factors in our success. Technical innovation in the design and manufacturing process of footwear, apparel
and athletic equipment receives continued emphasis as we strive to produce products that help to enhance athletic performance, reduce injury and maximize comfort, while
reducing waste.

In addition to our own staff of specialists in the areas of biomechanics, chemistry, exercise physiology, engineering, digital technologies, industrial design, sustainability and
related fields, we also utilize research committees and advisory boards made up of athletes, coaches, trainers, equipment managers, orthopedists, podiatrists, physicians and
other experts who consult with us and review designs, materials, concepts for product and manufacturing process improvements and compliance with product safety
regulations around the world. Employee athletes, athletes engaged under sports marketing contracts and other athletes wear-test and evaluate products during the design and
development process.

As we continue to develop new technologies, we are simultaneously focused on the design of innovative products and experiences incorporating such technologies throughout
our product categories and consumer applications. Using market intelligence and research, our various design teams identify opportunities to leverage new technologies in
existing categories to respond to consumer preferences. The proliferation of NIKE Air, Zoom, Free, Flywire, Dri-Fit, Flyknit, Flyweave, FlyEase, ZoomX, React and Adaptive
technologies, among others, throughout our Running, NIKE Basketball, Jordan Brand, Football (Soccer), Training and Sportswear categories, as well as Converse, typifies our
dedication to designing innovative products.




MANUFACTURING
We are supplied by 122 footwear factories located in 12 countries. Virtually all of our footwear is manufactured outside of the United States by over 15 independent contract
manufacturers, which often operate multiple factories. The largest single footwear factory accounted for approximately 9% of total fiscal 2020 NIKE Brand footwear production.
For fiscal 2020, contract factories in Vietnam, Indonesia and China manufactured approximately 50%, 24% and 22% of total NIKE Brand footwear, respectively. We also have
manufacturing agreements with independent contract manufacturers in Argentina and India to manufacture footwear for sale primarily within those countries. For fiscal 2020,
four footwear contract manufacturers each accounted for greater than 10% of footwear production and in the aggregate accounted for approximately 61% of NIKE Brand
footwear production.

We are supplied by 329 apparel factories located in 38 countries. The largest single apparel factory accounted for approximately 11% of total fiscal 2020 NIKE Brand apparel
production. Virtually all of our apparel is manufactured outside of the United States by independent contract manufacturers which often operate multiple factories. For fiscal
2020, contract factories in Vietnam, China and Cambodia produced approximately 28%, 23% and 12% of total NIKE Brand apparel, respectively. For fiscal 2020, two apparel
contract manufacturers accounted for more than 10% of apparel production, and the top five contract manufacturers in the aggregate accounted for approximately 48% of
NIKE Brand apparel production.

The principal materials used in our footwear products are natural and synthetic rubber, plastic compounds, foam cushioning materials, natural and synthetic leather, nylon,
polyester and canvas, as well as polyurethane films used to make NIKE Air-Sole cushioning components. During fiscal 2020, Air Manufacturing Innovation, awholly-owned
subsidiary, with facilities near Beaverton, Oregon, in Dong Nai Province, Vietnam and St. Charles, Missouri, as well as independent contractors in China and




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Vietnam, were our suppliers of materials and cushioning components used in footwear. Air Manufacturing Innovation also manufactures and sells small amounts of various
other plastic products to other manufacturers. The principal materials used in our apparel products are natural and synthetic fabrics and threads (both virgin and recycled);
specialized performance fabrics designed to efficiently wick moisture away from the body, retain heat and repel rain and/or snow; and plastic and metal hardware. NIKE's
independent contractors and suppliers buy raw materials for the manufacturing of our footwear, apparel and equipment products. Most raw materials are available and
purchased by those independent contractors and suppliers in the countries where manufacturing takes place. NIKE's independent contract manufacturers and suppliers have
thus far experienced little difficulty in satisfying raw material requirements for the production of our products.

Since 1972, Sojitz Corporation of America ("Sojitz America"), alarge Japanese trading company and the sole owner of our redeemable preferred stock, has performed import-
export financing services for us. During fiscal 2020, Sojitz America provided financing and purchasing services for NIKE Brand products sold in certain NIKE markets including
Argentina, Brazil, Canada, India, South Africa and Uruguay, excluding products produced and sold in the same country. Approximately 4% of NIKE Brand sales occurred in
those countries. Any failure of Sojitz America to provide these services or any failure of Sojitz America's banks could disrupt our ability to acquire products from our suppliers
and to deliver products to our customers in those markets. Such adisruption could result in canceled orders that would adversely affect sales and profitability. However, we
believe that any such disruption would be short-term in duration due to the ready availability of alternative sources of financing at competitive rates.


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INTERNATIONAL OPERATIONS AND TRADE
Our international operations and sources of supply are subject to the usual risks of doing business abroad, such as the implementation of, or potential changes in, foreign and
domestic trade policies, increases in import duties, anti-dumping measures, quotas, safeguard measures, trade restrictions, restrictions on the transfer of funds and, in certain
parts of the world, political instability and terrorism. We have not, to date, been materially affected by any such risk, but cannot predict the likelihood of such material effects
occurring in the future.


In recent years, uncertain global and regional economic and political conditions have affected international trade and increased protectionist actions around the world. These
trends are affecting many global manufacturing and service sectors, and the footwear and apparel industries, as awhole, are not immune. Companies in our industry are
facing trade protectionism in many different regions, and in nearly all cases we are working together with industry groups to address trade issues and reduce the impact to the
industry, while observing applicable competition laws. Notwithstanding our efforts, protectionist measures have resulted in increases in the cost of our products, and additional
measures, if implemented, could adversely affect sales and/or profitability for NIKE, as well as the imported footwear and apparel industry as awhole.


We monitor protectionist trends and developments throughout the world that may materially impact our industry, and we engage in administrative and judicial processes to
mitigate trade restrictions. We are actively monitoring actions that may result in additional anti-dumping measures and could affect our industry. We are also monitoring for and
advocating against other impediments that may limit or delay customs clearance for imports of footwear, apparel and equipment. NIKE also advocates for trade liberalization
for footwear and apparel in anumber of regional and bilateral free trade agreements. Changes in U.S. trade policies, including new and potential tariffs or penalties on
imported goods, may negatively affect U.S. corporations with production activities outside the U.S., including NIKE. There have also been discussions and commentary
regarding retaliatory actions by countries affected by the new tariffs and other changes in U.S. trade policy, and certain foreign governments have instituted or are considering
imposing retaliatory measures on certain U.S. goods, which could negatively affect U.S. corporations with business operations and/or consumer markets in those countries.
Depending on the extent that certain new or proposed reforms are implemented by the U.S. government and the manner in which foreign governments respond to such
reforms, it may become necessary for us to change the way we conduct business, which may adversely affect our results of operations. In addition, with respect to proposed
trade restrictions targeting China, which represents an important sourcing country and consumer market for us, we are working with abroad coalition of global businesses and
trade associations representing awide variety of sectors to help ensure that any legislation enacted and implemented (i) addresses legitimate and core concerns, (ii) is
consistent with international trade rules and (iii) reflects and considers China's domestic economy and the important role it has in the global economic community.


Where trade protection measures are implemented, we believe that we have the ability to develop, over aperiod of time, adequate alternative sources of supply for the
products obtained from our present suppliers. If events prevented us from acquiring products from our suppliers in aparticular country, our operations could be temporarily
disrupted and we could experience an adverse financial impact. However, we believe we could abate any such disruption, and that much of the adverse impact on supply
would, therefore, be of ashort-term nature, although alternate sources of supply might not be as cost-effective and could have an ongoing adverse impact on profitability.


Our international operations are also subject to compliance with the U.S. Foreign Corrupt Practices Act, or "FCPA", and other anti-bribery laws applicable to our operations. We
source asignificant portion of our products from, and have important consumer markets, outside of the United States, and we have an ethics and compliance program to
address compliance with the FCPA and similar laws by us, our employees, agents, suppliers and other partners.




COMPETITION
The athletic footwear, apparel and equipment industry is highly competitive on aworldwide basis. We compete internationally with asignificant number of athletic and leisure
footwear companies, athletic and leisure apparel companies, sports equipment companies and large companies having diversified lines of athletic and leisure footwear,
apparel and equipment, including adidas, Anta, ASICS, Li Ning, lululemon athletica, Puma, Under Armour and V.F. Corporation, among others. The intense competition and
the rapid changes in technology and consumer preferences in the markets for athletic and leisure footwear and apparel and athletic equipment, constitute significant risk
factors in our operations.




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NIKE is the largest seller of athletic footwear and apparel in the world. Important aspects of competition in this industry are:

  • Product attributes such as quality; performance and reliability; new product style, design, innovation and development, as well as consumer price/value.

  • Consumer connection, engagement and affinity for brands and products, developed through marketing, promotion and digital experiences; social media interaction;
     customer support and service; identification with prominent and influential athletes, influencers, public figures, coaches, teams, colleges and sports leagues who endorse
     our brands and use our products and active engagement through sponsored sporting events and clinics.

     Effective sourcing and distribution of products, with attractive merchandising and presentation at retail, both in-store and on digital platforms.

We believe that we are competitive in all of these areas.




TRADEMARKS AND PATENTS
We believe that our intellectual property rights are important to our brand, our success and our competitive position. We strategically pursue available protections of these
rights and vigorously protect them against third-party theft and infringement.


We use trademarks on nearly all of our products and believe having distinctive marks that are readily identifiable is an important factor in creating amarket for our goods, in
identifying our brands and the Company, and in distinguishing our goods from the goods of others. We consider our NIKE and Swoosh Design trademarks to be among our
most valuable assets and we have registered these trademarks in almost 170 jurisdictions worldwide. In addition, we own many other trademarks that we use in marketing our
products. We own common law rights in the trade dress of several significant shoe designs and elements. For certain trade dress, we have sought and obtained trademark
registrations.


We have copyright protection in our design, graphics and other original works. When appropriate, we also obtain registered copyrights.


We file for, own and maintain many U.S. and foreign utility and design patents protecting components, technologies, materials, manufacturing techniques, features,
functionality, and industrial and aesthetic designs used in and for the manufacture of various athletic and leisure footwear and apparel, athletic equipment and digital devices
and related software applications. These patents expire at various times.


We believe our success depends upon our capabilities in areas such as design, research and development, production and marketing and is supported by our intellectual
property rights, such as trademarks, patents and trade secrets, among others.


We have followed apolicy of applying for and registering intellectual property rights in the United States and select foreign countries on trademarks, inventions, innovations and
designs that we deem valuable. We also continue to vigorously protect our intellectual property, including trademarks, patents and trade secrets against third-party
infringement.




EMPLOYEES
As of May 31, 2020, we had approximately 75,400 employees worldwide, including retail and part-time employees. Management is committed to maintaining an environment
where all NIKE employees have the opportunity to reach their full potential. None of our employees are represented by aunion, except for certain employees in the APLA
geography, where local law requires those employees to be represented by atrade union. Also, in some countries outside of the United States, local laws require employee
representation by works councils (which may be entitled to information and consultation on certain Company decisions) or by organizations similar to aunion. In certain
European countries, we are required by local law to enter into and/or comply with industry-wide or national collective bargaining agreements. NIKE has never experienced a
material interruption of operations due to labor disagreements.


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INFORMATION ABOUT OUR EXECUTIVE OFFICERS
The executive officers of NIKE, Inc. as of July 24, 2020 are as follows:


                                 Mark G. Parker, Executive Chairman — Mr. Parker, 64, is Executive Chairman of the Board of Directors and served as President and Chief
                                 Executive Officer from 2006 -January 2020. He has been employed by NIKE since 1979 with primary responsibilities in product research,
                                 design and development, marketing and brand management. Mr. Parker was appointed divisional Vice President in charge of product
                                 development in 1987, corporate Vice President in 1989, General Manager in 1993, Vice President of Global Footwear in 1998 and President of
                                 the NIKE Brand in 2001.




                                 John J. Donahoe II, President and Chief Executive Officer — Mr. Donahoe, 60, was appointed President and Chief Executive Officer in
                                 January 2020 and has been adirector since 2014. He brings expertise in digital commerce, technology and global strategy. He previously
                                 served as President and Chief Executive Officer at ServiceNow, Inc. Prior to joining ServiceNow, Inc., he served as President and Chief
                                 Executive Officer of eBay, Inc. He also held leadership roles at Bain & Company for two decades.




                                 Andrew Campion, Chief Operating Officer — Mr. Campion, 48, joined NIKE in 2007 as Vice President of Global Planning and Development,
                                 leading strategic and financial planning. He was appointed Chief Financial Officer of the NIKE Brand in 2010, responsible for leading all
                                 aspects of financial management for the Company's flagship brand. In 2014, he was appointed Senior Vice President, Strategy, Finance and
                                 Investor Relations. Mr. Campion assumed the role of Executive Vice President and Chief Financial Officer in August 2015. In April 2020, he
                                 was appointed Chief Operating Officer and leads NIKE's global technology and digital transformation, demand and supply management,
                                 manufacturing, distribution and logistics, sustainability, workplace design and connectivity, and procurement. Prior to joining NIKE, he held
                                 leadership roles in strategic planning, mergers and acquisitions, financial planning and analysis, operations and planning, investor relations
                                 and tax at The Walt Disney Company.

                                 Matthew Friend, Executive Vice President and Chief Financial Officer — Mr. Friend, 42, joined NIKE in 2009 as Senior Director of Corporate
                                 Strategy and Development, and was appointed Chief Financial Officer of Emerging Markets in 2011. In 2014, Mr. Friend was appointed Chief
                                 Financial Officer of Global Categories, Product and Functions, and was subsequently appointed Chief Financial Officer of the NIKE Brand in
                                 2016. He was also appointed Vice President of Investor Relations in 2019. Mr. Friend was appointed as Executive Vice President and Chief
                                 Financial Officer of NIKE, Inc. in April 2020. Prior to joining NIKE, he worked in the financial industry including roles as VP of investment
                                 banking and mergers and acquisitions at Goldman Sachs and Morgan Stanley.




                                Hilary K. Krane, Executive Vice President, Chief Administrative Officer and General Counsel — Ms. Krane, 56, joined NIKE as Vice
                                President and General Counsel in 2010. In 2011, her responsibilities expanded, and she became Vice President, General Counsel and
                                Corporate Affairs. Ms. Krane was appointed Executive Vice President, Chief Administrative Officer and General Counsel in 2013. Prior to
                                joining NIKE, Ms. Krane was General Counsel and Senior Vice President for Corporate Affairs at Levi Strauss & Co. from 2006 to 2010. From
                                1996 to 2006, she was aPartner and Assistant General Counsel at PricewaterhouseCoopers LLP.




                                 Monique S. Matheson, Executive Vice President, Global Human Resources — Ms. Matheson, 53, joined NIKE in 1998, with primary
                                 responsibilities in the human resources function. She was appointed as Vice President and Senior Business Partner in 2011 and Vice
                                 President, Chief Talent and Diversity Officer in 2012. Ms. Matheson was appointed Executive Vice President, Global Human Resources in
                                 2017.




                                 Heidi O'Neill, President of Consumer and Marketplace — Ms. O'Neill, 55, joined NIKE in 1998, and held avariety of leadership roles, including
                                 President of NIKE Direct, where she was responsible for NIKE's connection to its consumer globally through the Company's retail and digital-
                                 commerce business. She also led NIKE's women's business for seven years, growing it into amulti-billion dollar business, and leading the
                                 Company's North America apparel business as VP/GM. Ms. O'Neill was appointed as President of Consumer and Marketplace in April 2020
                                 and is responsible for NIKE's Direct business, including all stores, e-commerce and apps globally.




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ITEM 1A. RISK FACTORS
Special Note Regarding Forwara-Looking Statements and Analyst Reports

Certain written and oral statements, other than purely historic information, including estimates, projections, statements relating to NIKE's business plans, objectives and
expected operating results and the assumptions upon which those statements are based, made or incorporated by reference from time to time by NIKE or its representatives in
this report, other reports, filings with the SEC, press releases, conferences or otherwise, are "forward-looking statements" within the meaning of the Private Securities Litigation
Reform Act of 1995 and Section 21E of the Securities Exchange Act of 1934, as amended. Forward-looking statements include, without limitation, any statement that may
predict, forecast, indicate or imply future results, performance or achievements, and may contain the words "believe," "anticipate," "expect," "estimate," "project," "will be," "will
continue," "will likely result" or words or phrases of similar meaning. Forward-looking statements involve risks and uncertainties which may cause actual results to differ
materially from the forward-looking statements. The risks and uncertainties are detailed from time to time in reports filed by NIKE with the SEC, including reports filed on Forms
8-K, 10-Q and 10-K, and include, among others, the following: health epidemics, pandemics and similar outbreaks, including the COVID-19 pandemic; international, national
and local political, civil, economic and market conditions; the size and growth of the overall athletic footwear, apparel and equipment markets; intense competition among
designers, marketers, distributors and sellers of athletic footwear, apparel and equipment for consumers and endorsers; demographic changes; changes in consumer
preferences; popularity of particular designs, categories of products and sports; seasonal and geographic demand for NIKE products; difficulties in anticipating or forecasting
changes in consumer preferences, consumer demand for NIKE products and the various market factors described above; difficulties in implementing, operating and
maintaining NIKE's increasingly complex information technology systems and controls, including, without limitation, the systems related to demand and supply planning and
inventory control; interruptions in data and information technology systems; consumer data security; fluctuations and difficulty in forecasting operating results, including, without
limitation, the fact that advance orders may not be indicative of future revenues due to changes in shipment timing, the changing mix of orders with shorter lead times, and
discounts, order cancellations and returns; the ability of NIKE to sustain, manage or forecast its growth and inventories; the size, timing and mix of purchases of NIKE's
products; increases in the cost of materials, labor and energy used to manufacture products; new product development and introduction; the ability to secure and protect
trademarks, patents and other intellectual property; product performance and quality; customer service; adverse publicity, including without limitation, through social media or in
connection with brand damaging events; the loss of significant customers or suppliers; dependence on distributors and licensees; business disruptions; increased costs of
freight and transportation to meet delivery deadlines; increases in borrowing costs due to any decline in NIKE's debt ratings; changes in business strategy or development
plans; general risks associated with doing business outside of the United States, including, without limitation, exchange rate fluctuations, inflation, import duties, tariffs, quotas,
political and economic instability and terrorism; the potential impact of new laws, regulations or policy, including, without limitation, tariffs, import/export, trade and immigration
regulations or policies; changes in government regulations; the impact of, including business and legal developments relating to, climate change and natural disasters;
litigation, regulatory proceedings, sanctions or any other claims asserted against NIKE; the ability to attract and retain qualified employees, and any negative public perception
with respect to key personnel or our corporate culture, values or purpose; the effects of NIKE's decision to invest in or divest of businesses and other factors referenced or
incorporated by reference in this report and other reports.


Risk Factors

The risks included here are not exhaustive. Other sections of this report may include additional factors which could adversely affect NIKE's business and financial performance.
Moreover, NIKE operates in avery competitive and rapidly changing environment. New risks emerge from time to time and it is not possible for management to predict all such
risks, nor can it assess the impact of all such risks on NIKE's business or the extent to which any risk, or combination of risks, may cause actual results to differ materially from
those contained in any forward-looking statements. Given these risks and uncertainties, investors should not place undue reliance on forward-looking statements as a
prediction of actual results.


Investors should also be aware that while NIKE does, from time to time, communicate with securities analysts, it is against NIKE's policy to disclose to them any material non-
public information or other confidential commercial information. Accordingly, shareholders should not assume that NIKE agrees with any statement or report issued by any
analyst irrespective of the content of the statement or report. Furthermore, NIKE has a policy against confirming financial forecasts or projections issued by others. Thus, to the
extent that reports issued by securities analysts contain any projections, forecasts or opinions, such reports are not the responsibility of NIKE.


Our financial condition and results of operations have been and are expected to continue to be adversely affected by the coronavirus pandemic.


A novel strain of coronavirus (COVID-19) was first identified in Wuhan, China in December 2019, and subsequently declared a pandemic by the World Health Organization. To
date, this pandemic and preventative measures taken to contain or mitigate the pandemic have caused, and are expected to continue to cause, business slowdown or
shutdown in affected areas and significant disruption in the



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financial markets, both globally and in the United States. These events have led to and could continue to lead to adecline in discretionary spending by consumers, and in turn
materially impact, our business, sales, financial condition and results of operations. We have experienced a negative impact on our sales, operations and financial results, and
we cannot predict the degree to, or the time period over, which our sales, operations and financial results will continue to be affected by the pandemic and preventative
measures. Risks presented by the COVID-19 pandemic include, but are not limited to:


     •    Deterioration in economic conditions in the United States and globally;


          Reduced consumer demand for our products as consumers seek to reduce or delay discretionary spending in response to the impacts of COVID-19, including as a
          result of arise in unemployment rates and diminished consumer confidence;


     •    Cancellation or postponement of sports seasons and sporting events in multiple countries, including in the United States, and bans on large public gatherings, which
          have reduced consumer spending on our products and could impact the effectiveness of our arrangements with key endorsers;


     •    Decreased retail traffic as a result of store closures, reduced operating hours, social distancing restrictions and/or changes in consumer behavior;


          The risk that any safety protocols in NIKE-owned or affiliated facilities will not be effective or not be perceived as effective, or that any virus-related illnesses will be
          linked or alleged to be linked to such facilities, whether accurate or not;


     •    Incremental costs resulting from the adoption of preventative measures, including providing facial coverings and hand sanitizer, rearranging operations to follow
          social distancing protocols, conducting temperature checks and undertaking regular and thorough disinfecting of surfaces;


     •    Disruption to our distribution centers and our third-party manufacturing partners and other vendors, including through the effects of facility closures, reductions in
          operating hours, labor shortages, and real time changes in operating procedures, including for additional cleaning and disinfection procedures;


          Bankruptcies or other financial difficulties facing our wholesale customers, which could cause them to be unable to make or delay making payments to us, or result in
          cancellation or reduction of their orders;


     •    Operational risk, including but not limited to cybersecurity risks, as a result of extended workforce remote work arrangements, and restrictions on employee travel;


     •    Impacts to our distribution and logistics providers' ability to operate or increases in their operating costs. These supply chain effects may have an adverse effect on
          our ability to meet consumer demand, including digital demand, and could result in an increase in our costs of production and distribution, including increased freight
          and logistics costs and other expenses; and


     •    Significant disruption of and volatility in global financial markets, which could have a negative impact on our ability to access capital in the future.


We continue to monitor the latest developments regarding the pandemic and have made certain assumptions regarding the pandemic for purposes of our operating, financial
and tax planning projections, including assumptions regarding the duration and severity of the pandemic and the global macroeconomic impacts of the pandemic. However, we
are unable to accurately predict the extent of the impact of the pandemic on our business, operations and financial condition due to the uncertainty of future developments. In
particular, we believe the ultimate impacts on our business, results of operations, cash flows and financial condition will depend on, among other things, the further spread and
duration of COVID-19, the requirements to take action to help limit the spread of the illness, the availability, safety and efficacy of avaccine and treatments for COVID-19 and
the economic impacts of the pandemic. Even in those regions where we are beginning to experience business recovery should those regions fail to fully contain COVID-19 or
suffer aCOVID-19 relapse, those markets may not recover as quickly or at all, which could have a material adverse effect on our business and results of operations. The
pandemic may also affect our business, operations or financial condition in a manner that is not presently known to us or that we currently do not consider to present significant
risks.


In addition, the impact of COVID-19 may also exacerbate other risks discussed in this Item 1A. Risk Factors, any of which could have a material effect on us.


Global economic conditions could have a material adverse effect on our business, operating results and financial condition.

The uncertain state of the global economy continues to impact businesses around the world. If global economic and financial market conditions further deteriorate or do not
improve, the following factors could have a material adverse effect on our business, operating results and financial condition:

  • Our sales are impacted by discretionary spending by consumers. Declines in consumer spending may result in reduced demand for our products, increased inventories,
     reduced orders from retailers for our products, order cancellations, lower revenues, higher discounts and lower gross margins.

  • In the future, we may be unable to access financing in the credit and capital markets at reasonable rates in the event we find it desirable to do so.



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     We conduct transactions in various currencies, which creates exposure to fluctuations in foreign currency exchange rates relative to the U.S. Dollar. Continued volatility in
     the markets and exchange rates for foreign currencies and contracts in foreign currencies could have asignificant impact on our reported operating results and financial
     condition.

     Continued volatility in the availability and prices for commodities and raw materials we use in our products and in our supply chain (such as cotton or petroleum
     derivatives) could have amaterial adverse effect on our costs, gross margins and profitability.

     If retailers of our products experience declining revenues or experience difficulty obtaining financing in the capital and credit markets to purchase our products, this could
     result in reduced orders for our products, order cancellations, late retailer payments, extended payment terms, higher accounts receivable, reduced cash flows, greater
     expense associated with collection efforts and increased bad debt expense.

     If retailers of our products experience severe financial difficulty, some may become insolvent and cease business operations, which could negatively impact the sale of
     our products to consumers.

If contract manufacturers of our products or other participants in our supply chain experience difficulty obtaining financing in the capital and credit markets to purchase raw
materials or to finance capital equipment and other general working capital needs, it may result in delays or non-delivery of shipments of our products.


Our products, services and experiences facP intense competition.

NIKE is aconsumer products company and the relative popularity of various sports and fitness activities and changing design trends affect the demand for our products. The
athletic footwear, apparel and equipment industry is highly competitive both in the United States and worldwide. We compete internationally with asignificant number of athletic
and leisure footwear companies, athletic and leisure apparel companies, sports equipment companies, private labels and large companies that have diversified lines of athletic
and leisure footwear, apparel and equipment. We also compete with other companies for the production capacity of independent manufacturers that produce our products. Our
NIKE Direct operations, both through our digital commerce operations and retail stores, also compete with multi-brand retailers, which sell our products through their digital
platforms and physical stores, and with digital commerce platforms. In addition, we compete with respect to the digital experiences we are able to offer our consumers.


Product offerings, technologies, marketing expenditures (including expenditures for advertising and endorsements), pricing, costs of production, customer service, digital
commerce platforms, digital services and experiences and social media presence are areas of intense competition. This, in addition to ongoing rapid changes in technology, a
reduction in barriers to the creation of new footwear and apparel companies and consumer preferences in the markets for athletic and leisure footwear and apparel, athletic
equipment, services and experiences, constitute significant risk factors in our operations. In addition, the competitive nature of retail, including shifts in the ways in which
consumers shop, and the continued proliferation of digital commerce, constitutes arisk factor implicating our NIKE Direct and wholesale operations. If we do not adequately
and timely anticipate and respond to our competitors, our costs may increase, demand for our products may decline, possibly significantly, or we may need to reduce
wholesale or suggested retail prices for our products.


Failure to maintain our reputation, brand image and culture could negatively impact our business.

Our iconic brands have worldwide recognition, and our success depends on our ability to maintain and enhance our brand image and reputation. Maintaining, promoting and
growing our brands will depend on our design and marketing efforts, including advertising and consumer campaigns, product innovation and product quality. Our commitment
to product innovation and quality and our continuing investment in design (including materials) and marketing may not have the desired impact on our brand image and
reputation. In addition, our success in maintaining, extending and expanding our brand image depends on our ability to adapt to arapidly changing media environment,
including our increasing reliance on social media and digital dissemination of advertising campaigns on our digital platforms and through our digital experiences. We could be
adversely impacted if we fail to achieve any of these objectives.


Our brand value also depends on our ability to maintain apositive consumer perception of our corporate integrity, purpose and brand culture. Negative claims or publicity
involving us, our culture and values, our products, services and experiences, consumer data, or any of our key employees, endorsers, sponsors or suppliers could seriously
damage our reputation and brand image, regardless of whether such claims are accurate. For example, while we require our suppliers of our products to operate their business
in compliance with applicable laws and regulations, we do not control their practices. Negative publicity relating to aviolation or an alleged violation of policies or laws by such
suppliers could damage our brand image and diminish consumer trust in our brand. Social media, which accelerates and potentially amplifies the scope of negative publicity,
can increase the challenges of responding to negative claims. Adverse publicity about regulatory or legal action against us, or by us, could also damage our reputation and
brand image, undermine consumer confidence in us and reduce long-term demand for our products, even if the regulatory or legal action is unfounded or not material to our
operations. If the reputation, culture or image of any of our brands is tarnished or if we receive negative publicity, then our sales, financial condition and results of operations
could be materially and adversely affected.


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Our business is affected by seasonality, which could result in fluctuations in our operating results.

We experience moderate fluctuations in aggregate sales volume during the year. Historically, revenues in the first and fourth fiscal quarters have slightly exceeded those in the
second and third fiscal quarters. However, the mix of product sales may vary considerably from time to time as aresult of changes in seasonal or COVID-19 related
cancellations or postponements and geographic demand for particular types of footwear, apparel and equipment and in connection with the timing of significant sporting
events, such as the NBA Finals, Olympics or the World Cup, among others. In addition, our customers may cancel orders, change delivery schedules or change the mix of
products ordered with minimal notice. As aresult, we may not be able to accurately predict our quarterly sales. Accordingly, our results of operations are likely to fluctuate
significantly from period to period. This seasonality, along with other factors that are beyond our control, including economic conditions, changes in consumer preferences,
weather conditions, outbreaks of disease, social or political unrest, availability of import quotas, transportation disruptions and currency exchange rate fluctuations, could
adversely affect our business and cause our results of operations to fluctuate. Our operating margins are also sensitive to anumber of additional factors that are beyond our
control, including manufacturing and transportation costs, shifts in product sales mix and geographic sales trends, all of which we expect to continue. Results of operations in
any period should not be considered indicative of the results to be expected for any future period.


If we are unable to anticipate consumer preferences and develop new products, we may not be able to maintain or increase our revenues and profits.

Our success depends on our ability to identify, originate and define product trends as well as to anticipate, gauge and react to changing consumer demands in atimely
manner. However, lead times for many of our products may make it more difficult for us to respond rapidly to new or changing product trends or consumer preferences. All of
our products are subject to changing consumer preferences that cannot be predicted with certainty. Our new products may not receive consumer acceptance as consumer
preferences could shift rapidly to different types of performance products or away from these types of products altogether, and our future success depends in part on our ability
to anticipate and respond to these changes. If we fail to anticipate accurately and respond to trends and shifts in consumer preferences by adjusting the mix of existing product
offerings, developing new products, designs, styles and categories, and influencing sports and fitness preferences through extensive marketing, we could experience lower
sales, excess inventories or lower profit margins, any of which could have an adverse effect on our results of operations and financial condition. In addition, we market our
products globally through adiverse spectrum of advertising and promotional programs and campaigns, including social media, mobile applications and online advertising. If we
do not successfully market our products or if advertising and promotional costs increase, these factors could have an adverse effect on our business, financial condition and
results of operations.


We rely on technical innovation and high-quality products to compete in the market for our products.

Technical innovation and quality control in the design and manufacturing process of footwear, apparel and athletic equipment is essential to the commercial success of our
products. Research and development play akey role in technical innovation. We rely upon specialists in the fields of biomechanics, chemistry, exercise physiology,
engineering, digital technologies, industrial design, sustainability and related fields, as well as research committees and advisory boards made up of athletes, coaches,
trainers, equipment managers, orthopedists, podiatrists and other experts to develop and test cutting-edge performance products. While we strive to produce products that
help to enhance athletic performance, reduce injury and maximize comfort, if we fail to introduce technical innovation in our products, consumer demand for our products could
decline, and if we experience problems with the quality of our products, we may incur substantial expense to remedy the problems and loss of consumer confidence.


Failure to continue to obtain or maintain high-quality endorsers of our products could harm our business.

We establish relationships with professional athletes, sports teams and leagues, as well as other public figures, including artists, designers and influencers, to develop,
evaluate and promote our products, as well as establish product authenticity with consumers. However, as competition in our industry has increased, the costs associated with
establishing and retaining such sponsorships and other relationships have increased. If we are unable to maintain our current associations with professional athletes, sports
teams and leagues, or other public figures, or to do so at areasonable cost, we could lose the high visibility or on-field authenticity associated with our products, and we may
be required to modify and substantially increase our marketing investments. As aresult, our brands, net revenues, expenses and profitability could be harmed.


Furthermore, if certain endorsers were to stop using our products contrary to their endorsement agreements, our business could be adversely affected. In addition, actions
taken or statements made by athletes, teams or leagues, or other endorsers, associated with our products that harm the reputations of those athletes, teams or leagues, or
endorsers, could also seriously harm our brand image with consumers and, as aresult, could have an adverse effect on our sales and financial condition. In addition, poor
performance by our endorsers, afailure to continue to correctly identify promising athletes, public figures or sports organizations, to use and endorse our products or afailure
to enter into cost-effective endorsement arrangements with prominent athletes, public figures and sports organizations could adversely affect our brand, sales and profitability.




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Economic factors beyond our control, and changes in the global economic environment, including fluctuations in inflation and currency exchange rates, could
result in lower revenues, higher costs and decreased margins and earnings.

A majority of our products are manufactured and sold outside of the United States, and we conduct purchase and sale transactions in various currencies, which creates
exposure to the volatility of global economic conditions, including fluctuations in inflation and foreign currency exchange rates. Additionally, there has been, and may continue
to be, volatility in currency exchange rates as aresult of the United Kingdom's exit from the European Union, commonly referred to as "Brexit" or new or proposed U.S. policy
changes that impact the U.S. Dollar value relative to other international currencies. Our international revenues and expenses generally are derived from sales and operations in
foreign currencies, and these revenues and expenses could be affected by currency fluctuations, specifically amounts recorded in foreign currencies and translated into U.S.
Dollars for consolidated financial reporting, as weakening of foreign currencies relative to the U.S. Dollar adversely affects the U.S. Dollar value of the Company's foreign
currency-denominated sales and earnings. Currency exchange rate fluctuations could also disrupt the business of the independent manufacturers that produce our products by
making their purchases of raw materials more expensive and more difficult to finance. Foreign currency fluctuations have adversely affected and could continue to have an
adverse effect on our results of operations and financial condition.


We may hedge certain foreign currency exposures to lessen and delay, but not to completely eliminate, the effects of foreign currency fluctuations on our financial results.
Since the hedging activities are designed to lessen volatility, they not only reduce the negative impact of astronger U.S. Dollar or other trading currency, but they also reduce
the positive impact of aweaker U.S. Dollar or other trading currency. Our future financial results could be significantly affected by the value of the U.S. Dollar in relation to the
foreign currencies in which we conduct business. The degree to which our financial results are affected for any given time period will depend in part upon our hedging activities.


We may be adversely affected by the financial health of our customers.

We extend credit to our customers based on an assessment of acustomer's financial condition, generally without requiring collateral. To assist in the scheduling of production
and the shipping of our products, we offer certain customers the opportunity to place orders five to six months ahead of delivery under our futures ordering program. These
advance orders may be canceled under certain conditions, and the risk of cancellation may increase when dealing with financially unstable retailers or retailers struggling with
economic uncertainty. In the past, some customers have experienced financial difficulties up to and including bankruptcies, which have had an adverse effect on our sales, our
ability to collect on receivables and our financial condition. When the retail economy weakens or as consumer behavior shifts, retailers may be more cautious with orders. A
slowing or changing economy in our key markets could adversely affect the financial health of our customers, which in turn could have an adverse effect on our results of
operations and financial condition. In addition, product sales are dependent in part on high quality merchandising and an appealing retail environment to attract consumers,
which requires continuing investments by retailers. Retailers that experience financial difficulties may fail to make such investments or delay them, resulting in lower sales and
orders for our products.


Failure to accurately forecast consumer demand could lead to excess inventories or inventory shortages, which could result in decreased operating margins,
reduced cash flows and harm to our business.

To meet anticipated demand for our products, we purchase products from manufacturers outside of our futures ordering program and in advance of customer orders, which we
hold in inventory and resell to customers. There is arisk we may be unable to sell excess products ordered from manufacturers. Inventory levels in excess of customer
demand may result in inventory write-downs, and the sale of excess inventory at discounted prices could significantly impair our brand image and have an adverse effect on
our operating results, financial condition and cash flows. Conversely, if we underestimate consumer demand for our products or if our manufacturers fail to supply products we
require at the time we need them, we may experience inventory shortages. Inventory shortages might delay shipments to customers, negatively impact retailer, distributor and
consumer relationships and diminish brand loyalty. The difficulty in forecasting demand also makes it difficult to estimate our future results of operations, financial condition and
cash flows from period to period. A failure to accurately predict the level of demand for our products could adversely affect our net revenues and net income, and we are
unlikely to forecast such effects with any certainty in advance.


Our NIKE Direct operations have required and will continue to require asubstantial investment and commitment of resources and are subject to numerous risks
and uncertainties.

Our NIKE Direct operations, including our retail stores and digital platforms, have required and will continue to require significant investment. Our NIKE Direct stores have
required and will continue to require substantial fixed investment in equipment and leasehold improvements and personnel. We have entered into substantial operating lease
commitments for retail space. Certain stores have been designed and built to serve as high-profile venues to promote brand awareness and marketing activities and to
integrate with our digital platforms. Because of their unique design and technological elements, locations and size, these stores require substantially more investment than
other stores. Due to the high fixed-cost structure associated with our NIKE Direct retail stores, adecline in sales, ashift in consumer behavior away from brick-and-mortar
retail, or the closure, temporary or


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otherwise, or poor performance of individual or multiple stores could result in significant lease termination costs, write-offs of equipment and leasehold improvements and
employee-related costs.


Many factors unique to retail operations, some of which are beyond our control, pose risks and uncertainties. Risks include, but are not limited to: credit card fraud;
mismanagement of existing retail channel partners; and inability to manage costs associated with store construction and operation.


In addition, we have made significant investments in digital technologies and information systems for the digital aspect of our NIKE Direct operations, and our digital offerings
will require continued investment in the development and upgrading of our technology platforms. In order to deliver high-quality digital experiences, our digital platforms must
be designed effectively and work well with arange of other technologies, systems, networks, and standards that we do not control. We may not be successful in developing
platforms that operate effectively with these technologies, systems, networks or standards. A growing portion of consumers access our NIKE Direct digital platforms, but in the
event that it is more difficult for consumers to access and use our digital platforms, consumers find that our digital platforms do not effectively meet their needs or expectations
or consumers choose not to access or use our digital platforms or use devices that do not offer access to our platforms, the success of our NIKE Direct operations could be
adversely impacted. Our competitors may develop, or have already developed, digital experiences, features, content, services or technologies that are similar to ours or that
achieve greater acceptance.


We may not realize asatisfactory return on our investment in our NIKE Direct operations and management's attention from our other business opportunities could be diverted,
which could have an adverse effect on our business, financial condition or results of operations.


If the technology-based systems that give our consumers the ability to shop or interact with us online do not function effectively, our operating results, as well as
our ability to grow our digital commerce business globally or to retain our customer base, could be materially adversely affected.

Many of our consumers shop with us through our digital platforms. Increasingly, consumers are using mobile-based devices and applications to shop online with us and with
our competitors, and to do comparison shopping, as well as to engage with us and our competitors through digital experiences that are offered on mobile platforms. We are
increasingly using social media and proprietary mobile applications to interact with our consumers and as ameans to enhance their shopping experience. Any failure on our
part to provide attractive, effective, reliable, user-friendly digital commerce platforms that offer awide assortment of merchandise with rapid delivery options and that continually
meet the changing expectations of online shoppers or any failure to provide attractive digital experiences to our customers could place us at acompetitive disadvantage, result
in the loss of digital commerce and other sales, harm our reputation with consumers, have amaterial adverse impact on the growth of our digital commerce business globally
and could have amaterial adverse impact on our business and results of operations. In addition, as use of our digital platforms continues to grow, we will need an increasing
amount of technical infrastructure to continue to satisfy our consumers' needs. If we fail to continue to effectively scale and adapt our digital platforms to accommodate
increased consumer demand, our business may be subject to interruptions, delays or failures and consumer demand for our products and digital experiences could decline.


Risks specific to our digital commerce business also include diversion of sales from our and our retailers' brick and mortar stores, difficulty in recreating the in-store experience
through direct channels and liability for online content. Our failure to successfully respond to these risks might adversely affect sales in our digital commerce business, as well
as damage our reputation and brands.


We rely significantly on information technology to operate our business, including our supply chain and retail operations, and any failure, inadequacy or
interruption of that technology could harm our ability to effectively operate our business.

We are heavily dependent on information technology systems and networks, including the Internet and third-party services ("Information Technology Systems"), across our
supply chain, including product design, production, forecasting, ordering, manufacturing, transportation, sales and distribution, as well as for processing financial information for
external and internal reporting purposes, retail operations and other business activities. Information Technology Systems are critical to many of our operating activities and our
business processes and may be negatively impacted by any service interruption or shutdown. For example, our ability to effectively manage and maintain our inventory and to
ship products to customers on atimely basis depends significantly on the reliability of these Information Technology Systems. Over anumber of years, we have implemented
Information Technology Systems in all of the geographical regions in which we operate. Our work to integrate, secure and enhance these systems and related processes in our
global operations is ongoing and NIKE will continue to invest in these efforts. We cannot provide assurance, however, that the measures we take to secure and enhance these
systems will be sufficient to protect our Information Technology Systems and prevent cyber-attacks, system failures or data or information loss. The failure of these systems to
operate effectively, including as aresult of security breaches, viruses, hackers, malware, natural disasters, vendor business interruptions or other causes, or failure to properly
maintain, protect, repair or upgrade systems, or problems with transitioning to upgraded or replacement systems could cause delays in product fulfillment and reduced
efficiency of our operations, could require significant capital investments to remediate the problem which may not be sufficient to cover all




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eventualities, and may have an adverse effect on our reputation, results of operations and financial condition. Further, like other companies in the retail industry, we have in the
past experienced, and we expect to continue to experience, cyber-attacks, including phishing, and other attempts to breach, or gain unauthorized access to, our systems. To
date, these attacks have not had amaterial impact on our operations, but we cannot provide assurance that they will not have an impact in the future.


We also use Information Technology Systems to process financial information and results of operations for internal reporting purposes and to comply with regulatory financial
reporting, legal and tax requirements. If Information Technology Systems suffer severe damage, disruption or shutdown and our business continuity plans, or those of our
vendors, do not effectively resolve the issues in atimely manner, we could experience delays in reporting our financial results, which could result in lost revenues and profits,
as well as reputational damage. Furthermore, we depend on Information Technology Systems and personal data collection for digital marketing, digital commerce, consumer
engagement and the marketing and use of our digital products and services. We also rely on our ability to engage in electronic communications throughout the world between
and among our employees as well as with other third parties, including customers, suppliers, vendors and consumers. Any interruption in Information Technology Systems may
impede our ability to engage in the digital space and result in lost revenues, damage to our reputation, and loss of users.


We are subject to acomplex array of laws and regulations and litigation and other legal and regulatory proceedings, which could have an adverse effect on our
business, financial condition and results of operations.

As amultinational corporation with operations and distribution channels throughout the world, we are subject to and must comply with extensive laws and regulations in the
United States and other jurisdictions in which we have operations and distribution channels. If we or our employees, agents, suppliers, and other partners fail to comply with
any of these laws or regulations, such failure could subject us to fines, sanctions or other penalties that could negatively affect our reputation, business, financial condition and
results of operations. We are involved in various types of claims, lawsuits, regulatory proceedings and government investigations relating to our business, our products and the
actions of our employees and representatives, including contractual and employment relationships, product liability, antitrust, trademark rights and avariety of other matters. It
is not possible to predict with certainty the outcome of any such legal or regulatory proceedings or investigations, and we could in the future incur judgments, fines or penalties,
or enter into settlements of lawsuits and claims that could have amaterial adverse effect on our business, financial condition and results of operations and negatively impact
our reputation. The global nature of our business means legal and compliance risks, such as anti-bribery, anti-corruption, fraud, trade, environmental, competition, privacy and
other regulatory matters, will continue to exist and additional legal proceedings and other contingencies will arise from time to time, which could adversely affect us. In addition,
the adoption of new laws or regulations, or changes in the interpretation of existing laws or regulations, may result in significant unanticipated legal and reputational risks. Any
current or future legal or regulatory proceedings could divert management's attention from our operations and result in substantial legal fees.


Changes to U.S. or other countries' trade policies and tariff and import/export regulations or our failure to comply with such regulations may have amaterial
adverse effect on our reputation, business, financial condition and results of operations.

Changes in U.S. or international social, political, regulatory and economic conditions could impact our business, financial condition and results of operations. In particular,
political and economic instability, geopolitical conflicts, political unrest, civil strife, terrorist activity, acts of war, public corruption, expropriation and other economic or political
uncertainties in the United States or internationally could interrupt and negatively affect the sale of our products or other business operations. Any negative sentiment toward
the United States as aresult of any such changes could also adversely affect our business.

In addition, changes in laws and policies governing foreign trade, manufacturing, development and investment in the territories or countries where we currently sell our
products or conduct our business could adversely affect our business. The U.S. presidential administration has instituted or proposed changes in trade policies that include the
negotiation or termination of trade agreements, the imposition of higher tariffs on imports into the U.S., economic sanctions on individuals, corporations or countries, and other
government regulations affecting trade between the U.S. and other countries where we conduct our business. It may be time-consuming and expensive for us to alter our
business operations in order to adapt to or comply with any such changes.


Changes or proposed changes in U.S. or other countries' trade policies may result in restrictions and economic disincentives on international trade. Tariffs and other changes
in U.S. trade policy have in the past and could in the future trigger retaliatory actions by affected countries, and certain foreign governments have instituted or are considering
imposing retaliatory measures on certain U.S. goods. Further, any emerging protectionist or nationalist trends either in the United States or in other countries could affect the
trade environment. The Company, similar to many other multinational corporations, does asignificant amount of business that would be impacted by changes to the trade
policies of the United States and foreign countries (including governmental action related to tariffs, international trade agreements, or economic sanctions). Such changes have
the potential to adversely impact the U.S. economy or certain sectors thereof or the economy of another country in which we conduct operations, our industry and the global
demand for our products, and as aresult, could have amaterial adverse effect on our business, financial condition and results of operations.


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Failure to adequately protect or enforce our intellectual property rights could adversely affect our business.

We periodically discover counterfeit reproductions of our products or products that otherwise infringe our intellectual property rights. If we are unsuccessful in enforcing our
intellectual property rights, continued sales of these products could adversely affect our sales and our brand and could result in ashift of consumer preference away from our
products.


The actions we take to establish and protect our intellectual property rights may not be adequate to prevent imitation of our products by others. We also may be unable to
prevent others from seeking to block sales of our products as violations of proprietary rights.


We may be subject to liability if third parties successfully claim we infringe on their intellectual property rights. Defending infringement claims could be expensive and time-
consuming and might result in our entering into costly license agreements. We also may be subject to significant damages or injunctions against development, use, importation
and/or sale of certain products.


We take various actions to prevent the unauthorized use and/or disclosure of our confidential information and intellectual property rights. These actions include contractual
measures such as entering into non-disclosure and non-compete agreements and agreements relating to our collaborations with third parties and providing confidential
information awareness training. Our controls and efforts to prevent unauthorized use and/or disclosure of confidential information and intellectual property rights might not
always be effective. For example, confidential information related to business strategy, innovations, new technologies, mergers and acquisitions, unpublished financial results
or personal data could be prematurely, inadvertently, or improperly used and/or disclosed, resulting in aloss of reputation, loss of intellectual property rights, adecline in our
stock price and/or anegative impact on our market position, and could lead to damages, fines, penalties or injunctions.


In addition, the laws of certain countries may not protect or allow enforcement of intellectual property rights to the same extent as the laws of the United States. We may face
significant expenses and liability in connection with the protection of our intellectual property rights, including outside the United States, and if we are unable to successfully
protect our rights or resolve intellectual property conflicts with others, our business or financial condition may be adversely affected.


We are subject to data security and privacy risks that could negatively affect our results, operations or reputation.

In addition to our own sensitive and proprietary business information, we handle transactional and personal information about our wholesale customers and consumers and
users of our digital experiences, which include online distribution channels and product engagement, adaptive products and personal fitness applications. Hackers and data
thieves are increasingly sophisticated and operate social engineering, such as phishing, and large-scale, complex automated attacks that can evade detection for long periods
of time. Any breach of our or our service providers' network, or other vendor systems, may result in the loss of confidential business and financial data, misappropriation of our
consumers', users' or employees' personal information or adisruption of our business. Any of these outcomes could have amaterial adverse effect on our business, including
unwanted media attention, impairment of our consumer and customer relationships, damage to our reputation; resulting in lost sales and consumers, fines, lawsuits, or
significant legal and remediation expenses. We also may need to expend significant resources to protect against, respond to and/or redress problems caused by any breach.


In addition, we must comply with increasingly complex and rigorous, and sometimes conflicting, regulatory standards enacted to protect business and personal data in the
United States, Europe and elsewhere. For example, the European Union adopted the General Data Protection Regulation (the "GDPR"), which became effective on May 25,
2018; and California passed the California Consumer Privacy Act (the "CCPA") which became effective on January 1, 2020. These laws impose additional obligations on
companies regarding the handling of personal data and provide certain individual privacy rights to persons whose data is stored. Compliance with existing, proposed and
recently enacted laws (including implementation of the privacy and process enhancements called for under GDPR and CCPA) and regulations can be costly and time
consuming, and any failure to comply with these regulatory standards could subject us to legal and reputational risks. Misuse of or failure to secure personal information could
also result in violation of data privacy laws and regulations, proceedings against the Company by governmental entities or others, imposition of fines by governmental
authorities and damage to our reputation and credibility and could have anegative impact on revenues and profits.


Our international operations involve inherent risks which could result in harm to our business.

Virtually all of our athletic footwear and apparel is manufactured outside of the United States, and the majority of our products are sold outside of the United States.
Accordingly, we are subject to the risks generally associated with global trade and doing business abroad, which include foreign laws and regulations, varying consumer
preferences across geographic regions, political unrest, disruptions or delays in cross-border shipments and changes in economic conditions in countries in which our products
are manufactured or where we sell products. This includes, for example, the uncertainty surrounding the effect of Brexit, including changes to the legal and regulatory
framework that apply to the United Kingdom and its relationship with the European Union, as well as new and proposed changes affecting tax laws and trade policy in the
United States and elsewhere as further described below under "We could be subject to changes in tax rates, adoption of new tax laws, additional tax liabilities or increased
volatility in our effective tax rate" and "Changes to U.S. or other countries' trade policies and tariff and import/export regulations or our failure to comply with such regulations
may have amaterial adverse effect on our reputation, business, financial condition and




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results of operations." The U.S. presidential administration has indicated afocus on policy reforms that discourage U.S. corporations from outsourcing manufacturing and
production activities to foreign jurisdictions, including through tariffs or penalties on goods manufactured outside the United States, which may require us to change the way we
conduct business and adversely affect our results of operations. The administration has also targeted the specific practices of certain U.S. multinational corporations in public
statements which, if directed at us, could harm our reputation or otherwise negatively impact our business.


In addition, disease outbreaks, including the current COVID-19 pandemic, terrorist acts and military conflict have increased the risks of doing business abroad. These factors,
among others, could affect our ability to manufacture products or procure materials, our ability to import products, our ability to sell products in international markets and our
cost of doing business. If any of these or other factors make the conduct of business in aparticular country undesirable or impractical, our business could be adversely
affected. In addition, many of our imported products are subject to duties, tariffs or quotas that affect the cost and quantity of various types of goods imported into the United
States and other countries. Any country in which our products are produced or sold may eliminate, adjust or impose new quotas, duties, tariffs, safeguard measures, anti-
dumping duties, cargo restrictions to prevent terrorism, restrictions on the transfer of currency, climate change legislation, product safety regulations or other charges or
restrictions, any of which could have an adverse effect on our results of operations and financial condition.


Furthermore, we are subject to the U.S. Foreign Corrupt Practices Act as well as the anti-corruption laws of other countries in which we operate. Although we implement
policies and procedures designed to promote compliance with these laws, our employees, contractors and agents, as well as those companies to which we outsource certain
of our business operations, may take actions in violation of our policies. Any such violation could result in sanctions or other penalties and have an adverse effect on our
business, reputation and operating results.


Our products are subject to risks associated with overseas sourcing, manufacturing and financing.

The principal materials used in our apparel products — natural and synthetic fabrics and threads, specialized performance fabrics designed to efficiently wick moisture away
from the body, retain heat or repel rain and/or snow as well as plastic and metal hardware — are available in countries where our manufacturing takes place. The principal
materials used in our footwear products — natural and synthetic rubber, plastic compounds, foam cushioning materials, natural and synthetic leather, natural and synthetic
fabrics and threads, nylon, canvas and polyurethane films — are also locally available to manufacturers. Both our apparel and footwear products are dependent upon the
ability of our unaffiliated contract manufacturers to locate, train, employ and retain adequate personnel. NIKE contractors and suppliers buy raw materials and are subject to
wage rates that are oftentimes regulated by the governments of the countries in which our products are manufactured.


There could be asignificant disruption in the supply of fabrics or raw materials from current sources or, in the event of adisruption, our contract manufacturers might not be
able to locate alternative suppliers of materials of comparable quality at an acceptable price or at all. Further, our unaffiliated contract manufacturers have experienced and
may continue to experience in the future, unexpected increases in work wages, whether government mandated or otherwise and increases in compliance costs due to
governmental regulation concerning certain metals used in the manufacturing of our products. In addition, we cannot be certain that our unaffiliated manufacturers will be able
to fill our orders in atimely manner. If we experience significant increases in demand, or reductions in the availability of materials, or need to replace an existing manufacturer,
there can be no assurance additional supplies of fabrics or raw materials or additional manufacturing capacity will be available when required on terms acceptable to us, or at
all, or that any supplier or manufacturer would allocate sufficient capacity to us in order to meet our requirements. In addition, even if we are able to expand existing or find new
manufacturing or sources of materials, we may encounter delays in production and added costs as aresult of the time it takes to train suppliers and manufacturers in our
methods, products, quality control standards and labor, health and safety standards. Any delays, interruption or increased costs in labor or wages, or the supply of materials or
manufacture of our products could have an adverse effect on our ability to meet retail customer and consumer demand for our products and result in lower revenues and net
income both in the short- and long-term.


Because independent manufacturers make amajority of our products outside of our principal sales markets, our products must be transported by third parties over large
geographic distances. Delays in the shipment or delivery of our products due to the availability of transportation, work stoppages, port strikes, infrastructure congestion or other
factors, and costs and delays associated with consolidating or transitioning between manufacturers, could adversely impact our financial performance. In addition,
manufacturing delays or unexpected demand for our products may require us to use faster, but more expensive, transportation methods such as air freight, which could
adversely affect our profit margins. The cost of oil is asignificant component in manufacturing and transportation costs, so increases in the price of petroleum products can
adversely affect our profit margins. Changes in U.S. trade policies, including new and potential changes to import tariffs and existing trade policies and agreements, could also
have asignificant impact on our activities in foreign jurisdictions, and could adversely affect our results of operations.


In addition, Sojitz America performs import-export financing services and purchasing services for NIKE Brand products sold in certain countries and any failure of Sojitz
America to provide these services or any failure of Sojitz America's banks could have an


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adverse effect on our ability to acquire products from our suppliers and to deliver products to our customers in the countries in which Sojitz provides services, which could in
turn adversely affect our sales and profitability.


We could be subject to changes in tax rates, adoption of new tax laws, additional tax liabilities or increased volatility in our effective tax rate.

We are subject to the tax laws in the United States and numerous foreign jurisdictions. Current economic and political conditions make tax laws and regulations, or their
interpretation and application, in any jurisdiction subject to significant change.


We earn asubstantial portion of our income in foreign countries and are subject to the tax laws of those jurisdictions. For example, effective January 1, 2020, the tax law in the
Netherlands, one of the Company's major jurisdictions, changed.


Other proposals to reform foreign tax laws could significantly impact how U.S. multinational corporations are taxed on foreign earnings. Although we cannot predict whether or
in what form these proposals will pass, several of the proposals considered, if enacted into law, could have an adverse impact on our income tax expense and cash flows.


Portions of our operations are subject to areduced tax rate or are free of tax under various tax holidays and rulings. We also utilize tax rulings and other agreements to obtain
certainty in treatment of certain tax matters. These holidays and rulings expire in whole or in part from time to time and may be extended when certain conditions are met, or
terminated if certain conditions are not met. The impact of any changes in conditions would be the loss of certainty in treatment thus potentially impacting our effective income
tax rate. For example, in January 2019, the European Commission opened aformal investigation to examine whether the Netherlands has breached State Aid rules when
granting certain tax rulings to the Company. If this matter is adversely resolved, the Netherlands may be required to assess additional amounts with respect to current and prior
periods and the Company's Netherlands income taxes in the future could increase.


We are also subject to the examination of our tax returns by the United States Internal Revenue Service ("IRS") and other tax authorities. We regularly assess the likelihood of
an adverse outcome resulting from these examinations to determine the adequacy of its provision for income taxes. Although we believe our tax provisions are adequate, the
final determination of tax audits and any related disputes could be materially different from our historical income tax provisions and accruals. The results of audits or related
disputes could have an adverse effect on our financial statements for the period or periods for which the applicable final determinations are made. For example, we and our
subsidiaries are also engaged in anumber of intercompany transactions across multiple tax jurisdictions. Although we believe we have clearly reflected the economics of these
transactions and the proper local transfer pricing documentation is in place, tax authorities may propose and sustain adjustments that could result in changes that may impact
our mix of earnings in countries with differing statutory tax rates.


Consolidation of retailers or concentration of retail market share among afew retailers may increase and concentrate our credit risk and impair our ability to sell
products.

The athletic footwear, apparel and equipment retail markets in some countries are dominated by afew large athletic footwear, apparel and equipment retailers with many
stores and accelerating digital commerce capabilities. The market shares of these retailers may increase through acquisitions and construction of additional stores and
investments in digital capacity, and as aresult of attrition as struggling retailers exit the market. Consolidation of our retailers will concentrate our credit risk with asmaller set of
retailers, any of whom may experience declining sales or ashortage of liquidity, including as aresult of the COVID-19 pandemic. In addition, increasing market share
concentration among afew retailers in aparticular country or region increases the risk that if any one of them substantially reduces their purchases of our products, we may be
unable to find sufficient retail outlets for our products to sustain the same level of sales and revenues.


We are subject to the risk our licensees may not generate expected sales or maintain the value of our brands.

We currently license, and expect to continue licensing, certain of our proprietary rights, such as trademarks or copyrighted material, to third parties. If our licensees fail to
successfully market and sell licensed products, or fail to obtain sufficient capital or effectively manage their business operations, customer relationships, labor relationships,
supplier relationships or credit risks, it could adversely affect our revenues, both directly from reduced royalties received and indirectly from reduced sales of our other
products.


We also rely on our licensees to help preserve the value of our brands. Although we attempt to protect our brands through approval rights over the design, production
processes, quality, packaging, merchandising, distribution, advertising and promotion of our licensed products, we cannot completely control the use of our licensed brands by
our licensees. The misuse of abrand by or negative publicity involving alicensee could have amaterial adverse effect on that brand and on us.


Failure of our contractors or our licensees contractors to comply with our code of conduct, local laws and other standards could harm our business.

We work with hundreds of contractors outside of the United States to manufacture our products, and we also have license agreements that permit unaffiliated parties to
manufacture or contract for the manufacture of products using our intellectual property. We require the contractors that directly manufacture our products and our licensees
that make products using our intellectual property (including, indirectly, their contract manufacturers) to comply with acode of conduct and other environmental,




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health and safety standards for the benefit of workers. We also require our direct contractors and the contractors of our licensees to comply with applicable standards for
product safety. Notwithstanding their contractual obligations, from time to time contractors may not comply with such standards or applicable local law or our licensees may fail
to enforce such standards or applicable local law on their contractors. If one or more of our direct or indirect contractors violates or fails to comply with or is accused of violating
or failing to comply with such standards and laws, this could harm our reputation or result in aproduct recall and, as aresult, could have an adverse effect on our sales and
financial condition. Negative publicity regarding production methods, alleged unethical or illegal practices or workplace or related conditions of any of our suppliers,
manufacturers or licensees could adversely affect our brand image and sales, force us to locate alternative suppliers, manufacturers or licenses or result in the imposition of
additional regulations, including new or additional quotas, tariffs, product safety regulations or other regulatory measures, by governmental authorities.


If one or more of our counterparty financial institutions default on their obligations to us or fail, we may incur significant losses.

As part of our hedging activities, we enter into transactions involving derivative financial instruments, which may include forward contracts, commodity futures contracts, option
contracts, collars and swaps with various financial institutions. In addition, we have significant amounts of cash, cash equivalents and other investments on deposit or in
accounts with banks or other financial institutions in the United States and abroad. As aresult, we are exposed to the risk of default by or failure of counterparty financial
institutions. The risk of counterparty default or failure may be heightened during economic downturns and periods of uncertainty in the financial markets. If one of our
counterparties were to become insolvent or file for bankruptcy, our ability to recover losses incurred as aresult of default, or our assets deposited or held in accounts with such
counterparty, may be limited by the counterparty's liquidity or the applicable laws governing the insolvency or bankruptcy proceedings. In the event of default or failure of one
or more of our counterparties, we could incur significant losses, which could negatively impact our results of operations and financial condition.


We rely on aconcentrated source base of contract manufacturers to supply asignificant portion of our footwear products.

NIKE is supplied by 122 footwear factories located in 12 countries. We do not own or operate any of the footwear manufacturing facilities and depend upon independent
contract manufacturers to manufacture all of the footwear products we sell. In fiscal 2020, four footwear contract manufacturers each accounted for greater than 10% of fiscal
2020 footwear production and in aggregate accounted for approximately 61% of NIKE Brand footwear production in fiscal 2020. Our ability to meet our customers' needs
depends on our ability to maintain asteady supply of products from our independent contract manufacturers. If one or more of our significant suppliers were to sever their
relationship with us or significantly alter the terms of our relationship, including due to changes in applicable trade policies, or be unable to perform, including as aresult of the
COVID-19 pandemic, we may not be able to obtain replacement products in atimely manner, which could have amaterial adverse effect on our sales, financial condition or
results of operations. Additionally, if any of our primary contract manufacturers fail to make timely shipments, do not meet our quality standards or otherwise fail to deliver us
product in accordance with our plans, there could be amaterial adverse effect on our results of operations.

Certain of our manufacturers are highly specialized and only produce aspecific type of product. Such manufacturing partners may go out of business if consumer preferences
or market conditions change such that there is no longer sufficient demand for the types of products they produce. If, in the future, the relevant products are again in demand
and the specialized manufacturers no longer exist, we may not be able to locate replacement facilities to manufacture certain products in atimely manner or at all, which could
have amaterial adverse effect on our sales, financial condition or results of operations.


Our success depends on our global distribution facilities.

We distribute our products to customers directly from the factory and through distribution centers located throughout the world. Our ability to meet customer expectations,
manage inventory, complete sales and achieve objectives for operating efficiencies and growth, particularly in emerging markets, depends on the proper operation of our
distribution facilities, the development or expansion of additional distribution capabilities and the timely performance of services by third parties (including those involved in
shipping product to and from our distribution facilities). Our distribution facilities have in the past and could be interrupted by information technology problems, disasters such
as earthquakes or fires or outbreaks of disease or government actions taken to mitigate their spread. Any significant failure in our distribution facilities could result in an
adverse effect on our business. We maintain business interruption insurance, but it may not adequately protect us from adverse effects caused by significant disruptions in our
distribution facilities.


The market for prime real estate is competitive.

Our ability to effectively obtain real estate to open new retail stores and otherwise conduct our operations, both domestically and internationally, depends on the availability of
real estate that meets our criteria for traffic, square footage, co-tenancies, lease economics, demographics and other factors. We also must be able to effectively renew our
existing real estate leases. In addition, from time to time, we seek to downsize, consolidate, reposition or close some of our real estate locations, which may require
modification of an existing lease. Failure to secure adequate new locations or successfully modify leases for existing


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locations, or failure to effectively manage the profitability of our existing fleet of retail stores, could have an adverse effect on our operating results and financial condition.


Additionally, the economic environment may make it difficult to determine the fair market rent of real estate properties domestically and internationally. This could impact the
quality of our decisions to exercise lease options at previously negotiated rents and to renew expiring leases at negotiated rents. Any adverse effect on the quality of these
decisions could impact our ability to retain real estate locations adequate to meet our targets or efficiently manage the profitability of our existing fleet of stores, which could
have an adverse effect on our operating results and financial condition.


Extreme weather conditions and natural disasters could negatively impact our operating results and financial condition.

Extreme weather conditions in the areas in which our retail stores, suppliers, manufacturers, customers, distribution centers, headquarters and vendors are located could
adversely affect our operating results and financial condition. Moreover, natural disasters such as earthquakes, hurricanes and tsunamis, whether occurring in the United
States or abroad, and their related consequences and effects, including energy shortages and public health issues, have in the past temporarily disrupted, and could in the
future disrupt, our operations, the operations of our vendors, manufacturers and other suppliers or have in the past and could result in economic instability that may negatively
impact our operating results and financial condition. In particular, if anatural disaster were to occur in an area in which we or our suppliers, manufacturers, customers,
distribution centers and vendors are located, our continued success would depend, in part, on the safety and availability of the relevant personnel and facilities and proper
functioning of our or third parties' computer, telecommunication and other systems and operations. In addition, asevere weather event could negatively impact retail traffic to
our stores or stores that carry our products and could have an adverse impact on consumer spending, any of which could in turn result in negative point-of-sale trends for our
merchandise. Further, climate change may increase both the frequency and severity of extreme weather conditions and natural disasters, which may affect our business
operations, either in aparticular region or globally, as well as the activities of our third-party vendors and other suppliers, manufacturers and customers. In addition, the
physical changes prompted by climate change could result in changes in regulations or consumer preferences, which could in turn affect our business, operating results and
financial condition. We believe the diversity of locations in which we operate, our operational size and our Information Technology Systems position us well, but if we were to
experience alocal or regional disaster or other business continuity event, we could still experience operational challenges, in particular depending upon how alocal or regional
event may affect our human capital across our operations or with regard to particular aspects of our operations, such as key executive officers or personnel. Further, if we are
unable to find alternative suppliers, replace capacity at key manufacturing or distribution locations or quickly repair damage to our Information Technology Systems or supply
systems, we could be late in delivering, or be unable to deliver, products to our customers. These events could result in reputational damage, lost sales, cancellation charges
or markdowns, all of which could have an adverse effect on our business, results of operations and financial condition.


Our financial results may be adversely affected if substantial investments in businesses and operations fail to produce expected returns.

From time to time, we may invest in technology, business infrastructure, new businesses, product offering and manufacturing innovation and expansion of existing businesses,
such as our NIKE Direct operations, which require substantial cash investments and management attention. We believe cost-effective investments are essential to business
growth and profitability; however, significant investments are subject to typical risks and uncertainties inherent in developing anew business or expanding an existing business.
The failure of any significant investment to provide expected returns or profitability could have amaterial adverse effect on our financial results and divert management
attention from more profitable business operations. See also "Our NIKE Direct operations have required and will continue to require asubstantial investment and commitment
of resources and are subject to numerous risks and uncertainties."


The success of our business depends, in part, on high-quality employees, including key personnel as well as our ability to maintain our workplace culture and
values.

Our success depends in part on the continued service of high-quality employees, including key executive officers and personnel. The loss of the services of key individuals, or
any negative perception with respect to these individuals, or our workplace culture or values, could harm our business. Our success also depends on our ability to recruit,
retain and engage our personnel sufficiently, both to maintain our current business and to execute our strategic initiatives. Competition for employees in our industry is intense
and we may not be successful in attracting and retaining such personnel. In addition, shifts in U.S. immigration policy could negatively impact our ability to attract, hire and
retain highly skilled employees who are from outside the United States. We also believe that our corporate culture has been akey driver of our success, and we have invested
substantial time and resources in building, maintaining and evolving our culture. Any failure to preserve and evolve our culture could negatively affect our future success,
including our ability to retain and recruit employees.




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Our business operations and financial performance could be adversely affected by changes in our relationship with our workforce or changes to United States or
foreign employment regulations.

We have significant exposure to changes in domestic and foreign laws governing our relationships with our workforce, including wage and hour laws and regulations, fair labor
standards, minimum wage requirements, overtime pay, unemployment tax rates, workers' compensation rates, citizenship requirements and payroll taxes, which could have a
direct impact on our operating costs. A significant increase in minimum wage or overtime rates in countries where we have workforces could have asignificant impact on our
operating costs and may require that we relocate those operations or take other steps to mitigate such increases, all of which may cause us to incur additional costs. There is
also arisk of potential claims that we have violated laws related to discrimination and harassment, health and safety, wage and hour laws, criminal activity, personal injury and
other claims. In addition, if there were asignificant increase in the number of members of our workforce who are members of labor organizations or become parties to
collective bargaining agreements, we could be vulnerable to astrike, work stoppage or other labor action, which could have an adverse effect on our business.


The sale of alarge number of shares of common stock by our principal stockholder could depress the market price of our common stock.

As of June 30, 2020, Swoosh, LLC beneficially owned approximately 75% of our Class A Common Stock. If, on June 30, 2020, all of these shares were converted into Class B
Common Stock, the commensurate ownership percentage of our Class B Common Stock would be approximately 16%. The shares are available for resale, subject to the
requirements of the U.S. securities laws and the terms of the limited liability company agreement governing Swoosh, LLC. The sale or prospect of asale of asubstantial
number of these shares could have an adverse effect on the market price of our common stock. Swoosh, LLC was formed by Philip H. Knight, our Chairman Emeritus, to hold
the majority of his shares of Class A Common Stock. Swoosh, LLC is controlled by Mr. Knight's son and NIKE director, Travis Knight.


Changes in our credit ratings or macroeconomic conditions may affect our liquidity, increasing borrowing costs and limiting our financing options.

Our long-term debt is currently rated Investment Grade by Standard & Poor's and Moody's Investors Service. If our credit ratings are lowered, borrowing costs for our existing
facilities or for future long-term debt or short-term credit facilities may increase and our financing options, including our access to the unsecured credit market or the capital
markets, could be adversely affected. We may also be subject to restrictive covenants that would reduce our flexibility to, among other things, incur additional indebtedness,
make restricted payments, pledge assets as security, make investments, loans, advances, guarantees and acquisitions, undergo fundamental changes and enter into
transactions with affiliates. Failure to comply with such covenants could result in adefault, and as aresult, the commitments of our lenders under our credit agreements may be
terminated and the maturity of amounts owed may be accelerated. In addition, macroeconomic conditions, such as increased volatility or disruption in the credit markets, could
adversely affect our ability to refinance existing debt.


If our internal controls are ineffective, our operating results could be adversely affected.

Our internal control over financial reporting may not prevent or detect misstatements because of its inherent limitations, including the possibility of human error, the
circumvention or overriding of controls or fraud. Even effective internal controls can provide only reasonable assurance with respect to the preparation and fair presentation of
financial statements. If we fail to maintain the adequacy of our internal controls, including any failure to implement required new or improved controls, or if we experience
difficulties in their implementation, our business and operating results could be harmed and we could fail to meet our financial reporting obligations.


If our estimates or judgments relating to our critical accounting policies prove to be incorrect, our operating results could be adversely affected.

The preparation of financial statements in conformity with accounting principles generally accepted in the United States of America requires management to make estimates
and assumptions that affect the amounts reported in the consolidated financial statements and accompanying notes. We base our estimates on historical experience and on
various other assumptions we believe to be reasonable under the circumstances, as provided in "Management's Discussion and Analysis of Financial Condition and Results of
Operations." The results of these estimates form the basis for making judgments about the carrying values of assets, liabilities and equity, and the amount of revenues and
expenses that are not readily apparent from other sources. Significant assumptions and estimates used in preparing our consolidated financial statements include those
related to revenue recognition, inventory reserves, contingent payments under endorsement contracts, accounting for property, plant and equipment and definite-lived assets,
hedge accounting for derivatives, stock-based compensation, income taxes and other contingencies. Our operating results may be adversely affected if our assumptions
change or if actual circumstances differ from those in our assumptions, which could cause our operating results to fall below the expectations of securities analysts and
investors, resulting in adecline in the price of our Class B Common Stock.


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Anti-takeover provisions may impair an acquisition of the Company or reduce the price of our common stock.

There are provisions within our articles of incorporation and Oregon law intended to protect shareholder interests by providing the Board of Directors a means to attempt to
deny coercive takeover attempts or to negotiate with a potential acquirer in order to obtain more favorable terms. Such provisions include acontrol share acquisition statute, a
freeze-out statute, two classes of stock that vote separately on certain issues, and the fact that holders of Class A Common Stock elect three-quarters of the Board of Directors
rounded down to the next whole number. However, such provisions could discourage, delay or prevent an unsolicited merger, acquisition or other change in control of our
company that some shareholders might believe to be in their best interests or in which shareholders might receive apremium for their common stock over the prevailing market
price. These provisions could also discourage proxy contests for control of the Company.


We may fail to meet market expectations, which could cause the price of our stock to decline.

Our Class B Common Stock is traded publicly, and at any given time various securities analysts follow our financial results and issue reports on us. These reports include
information about our historical financial results as well as analysts' opinions of our future performance, which may, in part, be based upon any guidance we have provided.
Analysts' estimates are often different from our estimates or expectations. If our operating results are below the estimates or expectations of public market analysts and
investors, our stock price could decline. In the past, securities class action litigation has been brought against NIKE and other companies following adecline in the market price
of their securities. If our stock price is volatile for any reason, we may become involved in this type of litigation in the future. Any litigation could result in reputational damage,
substantial costs and adiversion of management's attention and resources needed to successfully run our business.




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ITEM 5. MARKET FOR REGISTRANT'S COMMON EQUITY,
RELATED STOCKHOLDER MATTERS AND ISSUER
PURCHASES OF EQUITY SECURITIES
NIKE's Class B Common Stock is listed on the New York Stock Exchange and trades under the symbol NKE. At July 17, 2020, there were 23,114 holders of record of NIKE's
Class B Common Stock and 14 holders of record of NIKE's Class A Common Stock. These figures do not include beneficial owners who hold shares in nominee name. The
Class A Common Stock is not publicly traded, but each share is convertible upon request of the holder into one share of Class B Common Stock. Refer to Selected Quarterly
Financial Data in Part II, Item 6of this Report for dividends declared on the Class A and Class B Common Stock.

In June 2018, the Board of Directors approved afour-year, $15 billion share repurchase program. As of May 31, 2020, the Company had repurchased 45.2 million shares at an
average price of $89.00 per share for atotal approximate cost of $4.0 billion under this program.

All share repurchases were made under NIKE's publicly announced program and there are no other programs under which the Company repurchases shares. The following
table presents asummary of share repurchases made during the quarter ended May 31, 2020:

                                                                                                                                             APPROXIMATE DOLLAR
                                                                                                                                            VALUE OF SHARES THAT
                                                                                                                                            MAY YET BE PURCHASED
                                                                                                                                                 UNDER THE PLANS
                                                                                   TOTAL NUMBER OF                AVERAGE PRICE                     OR PROGRAMS
PERIOD                                                                           SHARES PURCHASED                 PAID PER SHARE                       (IN MILLIONS)
March 1— March 31, 2020                                                                        1,872,265   $                  85.08   $                           10,981
April 1— April 30, 2020                                                                               —    $                     —    $                           10,981
May 1— May 31, 2020                                                                                   —    $                     —    $                           10,981

                                                                                               1,872,265   $                  85.08



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ITEM 1B. UNRESOLVED STAFF COMMENTS
None.




ITEM 2. PROPERTIES
The following is asummary of principal properties owned or leased by NIKE:


The NIKE World Campus, owned by NIKE and located near Beaverton, Oregon, USA, is an approximately 400-acre site consisting of over 40 buildings which, together with
adjacent leased properties, functions as our world headquarters and is occupied by approximately 12,800 employees engaged in management, research, design,
development, marketing, finance and other administrative functions serving nearly all of our segments. We lease asimilar, but smaller, administrative facility in Hilversum, the
Netherlands, which serves as the headquarters for our Europe, Middle East & Africa geography and management of certain brand functions for our non-U.S. operations. We
also lease an office complex in Shanghai, China, our headquarters for our Greater China geography, occupied by employees focused on implementing our wholesale, NIKE
Direct and merchandising strategies in the region, among other functions.


In the United States, NIKE has seven significant distribution centers. Four are located in Memphis, Tennessee, two of which are owned and two of which are leased. Two other
distribution centers, one located in Indianapolis, Indiana and one located in Dayton, Tennessee, are leased and operated by third-party logistics providers. One distribution
center for Converse is located in Ontario, California, which is leased. NIKE has anumber of distribution facilities outside the United States, some of which are leased and
operated by third-party logistics providers. The most significant distribution facilities outside the United States are located in Laakdal, Belgium; Taicang, China; Tomisato,
Japan and Incheon, Korea, all of which we own, as well as in Suzhou, China, which is leased and operated by athird-party logistics provider.


Air Manufacturing Innovation manufactures cushioning components used in footwear at NIKE-owned and leased facilities located near Beaverton, Oregon, and in Dong Nai
Province, Vietnam, as well as at NIKE-owned facilities in St. Charles, Missouri.


Aside from the principal properties described above, we lease many offices worldwide for sales and administrative purposes. We lease 1,091 retail stores worldwide, which
primarily consist of factory stores. See "United States Market" and "International Markets" for additional information regarding our retail stores. Our leases expire at various
dates through the year 2043.




ITEM 3. LEGAL PROCEEDINGS
There are no material pending legal proceedings, other than ordinary routine litigation incidental to our business, to which we are aparty or of which any of our property is the
subject.




ITEM 4. MINE SAFETY DISCLOSURES
Not applicable.


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ITEM 5. MARKET FOR REGISTRANT'S COMMON EQUITY,
RELATED STOCKHOLDER MATTERS AND ISSUER
PURCHASES OF EQUITY SECURITIES
NIKE's Class B Common Stock is listed on the New York Stock Exchange and trades under the symbol NKE. At July 17, 2020, there were 23,114 holders of record of NIKE's
Class B Common Stock and 14 holders of record of NIKE's Class A Common Stock. These figures do not include beneficial owners who hold shares in nominee name. The
Class A Common Stock is not publicly traded, but each share is convertible upon request of the holder into one share of Class B Common Stock. Refer to Selected Quarterly
Financial Data in Part II, Item 6of this Report for dividends declared on the Class A and Class B Common Stock.

In June 2018, the Board of Directors approved afour-year, $15 billion share repurchase program. As of May 31, 2020, the Company had repurchased 45.2 million shares at an
average price of $89.00 per share for atotal approximate cost of $4.0 billion under this program.

All share repurchases were made under NIKE's publicly announced program and there are no other programs under which the Company repurchases shares. The following
table presents asummary of share repurchases made during the quarter ended May 31, 2020:

                                                                                                                                             APPROXIMATE DOLLAR
                                                                                                                                            VALUE OF SHARES THAT
                                                                                                                                            MAY YET BE PURCHASED
                                                                                                                                                 UNDER THE PLANS
                                                                                   TOTAL NUMBER OF                AVERAGE PRICE                     OR PROGRAMS
PERIOD                                                                           SHARES PURCHASED                 PAID PER SHARE                       (IN MILLIONS)
March 1— March 31, 2020                                                                        1,872,265   $                  85.08   $                           10,981
April 1— April 30, 2020                                                                               —    $                     —    $                           10,981
May 1— May 31, 2020                                                                                   —    $                     —    $                           10,981

                                                                                               1,872,265   $                  85.08



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PERFORMANCE GRAPH
The following graph demonstrates afive-year comparison of cumulative total returns for NIKE's Class B Common Stock; the Standard & Poor's 500 Stock Index; the
Standard & Poor's Apparel, Accessories & Luxury Goods Index; and the Dow Jones U.S. Footwear Index. The graph assumes an investment of $100 on May 31, 2015 in each
of the indices and our Class B Common Stock. Each of the indices assumes that all dividends were reinvested on the day of issuance.




COMPARISON OF 5-YEAR CUMULATIVE TOTAL RETURN AMONG NIKE, INC.; S&P 500 INDEX; THE DOW JONES U.S. FOOTWEAR
INDEX; AND S&P APPAREL, ACCESSORIES & LUXURY GOODS INDEX



 $200

 $180

 $160

 $1.10

 $120

 $180

  880

  560

  840

  820

   $0        2015                2016                2017               2018                     2018                2323

             —ILI— NIKE, Im                                                    StiP 5311 INDEX- TOTAL 11004i
              —C— DOW JONES U5 FOOTWAR INOEX                                   SAY .'n *'n I,
                                                                                            ACM sSa410;14 11X111.1? qmns MINX



The Dow Jones U.S. Footwear Index consists of NIKE, Deckers Outdoor Corporation, Skechers U.S.A., Inc., Steven Madden, Ltd. and Wolverine World Wide, Inc. Because
NIKE is part of the Dow Jones U.S. Footwear Index, the price and returns of NIKE stock have asubstantial effect on this index. The Standard & Poor's Apparel, Accessories &
Luxury Goods Index consists of Hanesbrands Inc., PVH Corporation, Ralph Lauren Corporation, Tapestry, Inc., Under Armour, Inc. and V.F. Corporation. The Dow Jones U.S.
Footwear Index and the Standard & Poor's Apparel, Accessories & Luxury Goods Index include companies in two major lines of business in which the Company competes.
The indices do not encompass all of the Company's competitors, nor all product categories and lines of business in which the Company is engaged.


The stock performance shown on the performance graph above is not necessarily indicative of future performance. The Company will not make or endorse any predictions as
to future stock performance.


The performance graph above is being furnished solely to accompany this Report pursuant to Item 201(e) of Regulation S-K, is not being filed for purposes of Section 18 of the
Securities Exchange Act of 1934, as amended, and is not to be incorporated by reference into any filing of the Company, whether made before or after the date hereof,
regardless of any general incorporation language in such filing.



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ITEM 6. SELECTED FINANCIAL DATA
All share and per share amounts are reflective of the two-for-one stock split that began trading at the split-adjusted price on December 24, 2015.

                                                                                                                                                        FINANCIAL HISTORY
(In millions, except per share data and financial ratios)                                                                 2020                2019                2018                2017                2016

Year Ended May 31,
Revenues(1)                                                                                                        $       37,403       $      39,117      $       36,397       $       34,350     $        32,376
Gross profit                                                                                                                16,241              17,474              15,956              15,312              14,971
Gross margin( 1)                                                                                                              43.4%               44.7%               43.8%               44.6%               46.2%
Net income( 1)( 2)                                                                                                           2,539               4,029               1,933               4,240               3,760

Earnings per common share:( 2)
      Basic                                                                                                                    1.63                2.55                1.19                2.56                2.21
      Diluted                                                                                                                  1.60                2.49                1.17                2.51                2.16
Weighted average common shares outstanding                                                                                 1,558.8             1,579.7             1,623.8             1,657.8             1,697.9
Diluted weighted average common shares outstanding                                                                         1,591.6             1,618.4             1,659.1             1,692.0             1,742.5
Cash dividends declared per common share                                                                                     0.955                 0.86                0.78                0.70                0.62
Cash provided (used) by operations( 1)                                                                                       2,485               5,903               4,955               3,846               3,399

At May 31,
Cash and equivalents( 3)                                                                                                     8,348      $        4,466     $         4,249      $        3,808     $         3,138
Short-term investments                                                                                                         439                 197                 996               2,371               2,319
Inventories(1)                                                                                                               7,367               5,622               5,261               5,055               4,838
Working capital                                                                                                             12,272               8,659               9,094              10,587               9,667
Operating lease right-of-use assets, net( 4)                                                                                 3,097
Total assets( 4)( 5)( 6)                                                                                                   31,342              23,717              22,536              23,259              21,379
Long-term debt( 3)                                                                                                           9,406               3,464               3,468               3,471               1,993
Total operating lease liabilities(4)                                                                                         3,358
Redeemable preferred stock                                                                                                       0.3                 0.3                 0.3                 0.3                 0.3
Shareholders' equity(6)                                                                                                      8,055               9,040               9,812              12,407              12,258
Market capitalization                                                                                                     153,553             120,951             114,983               87,084              92,867

Financial Ratios:
Return on equity( 2)( 6)                                                                                                      29.7%               42.7%                17.4%               34.4%               30.1%
Return on assets( 2)( 3)( 4)( 5)( 6)                                                                                             9.2%              17.4%                 8.4%              19.0%               17.5%
Inventory turns                                                                                                                  3.3                 4.0                 4.0                 3.8                 3.8
Current ratio at May 31 (3)( 4)                                                                                                  2.5                 2.1                 2.5                 2.9                 2.8
Price/Earnings ratio at May 31 (
                               2)                                                                                             61.6                 31.0                61.4                21.1                25.6
(1)     Fiscal 2020 reflects the impacts of COVID-19 on our results of operations and financial condition. Refer to Item 7. Management's Discussion and Analysis of Financial Condition and Results of Operations for
        additional information.

(2)     Fiscal 2018 reflects the impact from the enactment of the U.S. Tax Cuts and Jobs Act. Refer to Note 9- Income Taxes in the accompanying Notes to the Consolidated Financial Statements for additional
        information.

(
3)      During the fourth quarter of fiscal 2020, the Company issued $6 billion of senior unsecured notes. Refer to Note 8- Long-Term Debt in the accompanying Notes to the Consolidated Financial Statements for
        additional information.

(4)     Fiscal 2020 reflects the impact from the adoption of Accounting Standards Update (ASU) No. 2016-02, Leases (Topic 842). Refer to Note 1- Summary of Significant Accounting Policies in the accompanying
        Notes to the Consolidated Financial Statements for additional information.

(
5)      Fiscal 2019 reflects the impact from the adoption of ASU No. 2014-09, Revenue from Contracts with Customers (Topic 606). Refer to Note 1- Summary of Significant Accounting Policies in the
        accompanying Notes to the Consolidated Financial Statements for additional information.

(6)     Fiscal 2019 reflects the impact from the adoption of ASU No. 2016-16, Income Taxes (Topic 740): Intra-Entity Transfers of Assets Other Than Inventory. Refer to Note 1- Summary of Significant Accounting
        Policies in the accompanying Notes to the Consolidated Financial Statements for additional information.




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SELECTED QUARTERLY FINANCIAL DATA
(UNAUDITED)                                                                  1ST QUARTER                           2ND QUARTER                          3RD QUARTER                           4TH QUARTER

(In millions, except per share data)                                      2020              2019                2020              2019                2020              2019               2020              2019

Revenues( 1)                                                         $     10,660      $      9,948        $     10,326      $      9,374        $     10,104      $      9,611       $      6,313      $     10,184

Gross profit                                                                4,871             4,397               4,544             4,105               4,473             4,339              2,353             4,633

Gross margin( 1)                                                              45.7%             44.2%               44.0%             43.8%               44.3%          45.1 %                37.3%             45.5%

Net income (loss)( 1)                                                        1,367             1,092               1,115               847                 847             1,101               (790)              989

Earnings (loss) per common share:

      Basic                                                                   0.87              0.69                0.71              0.54                0.54              0.70              (0.51)             0.63

      Diluted                                                                 0.86              0.67                0.70              0.52                0.53              0.68              (0.51)             0.62
Weighted average common
shares outstanding                                                        1,562.4           1,594.0             1,560.6           1,581.4             1,556.3           1,572.8            1,555.7           1,570.2
Diluted weighted average common
shares outstanding                                                        1,597.5           1,634.4             1,594.4           1,620.7             1,591.6           1,609.6            1,555.7           1,607.5
Cash dividends declared per
common share                                                                  0.22              0.20              0.245               0.22              0.245               0.22             0.245               0.22
(1)     The third and fourth quarters of fiscal 2020 reflect the impacts of COVID-19 on our results of operations and financial condition. Refer to Item 7. Management's Discussion and Analysis of Financial Condition
        and Results of Operations for additional information.



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ITEM 7. MANAGEMENT'S DISCUSSION AND ANALYSIS OF
FINANCIAL CONDITION AND RESULTS OF OPERATIONS
NIKE designs, develops, markets and sells athletic footwear, apparel, equipment, accessories and services worldwide. We are the largest seller of athletic footwear and
apparel in the world. We sell our products through NIKE-owned retail stores and through digital platforms (which we refer to collectively as our "NIKE Direct" operations), to
retail accounts and to amix of independent distributors, licensees and sales representatives in virtually all countries around the world. Our goal is to deliver value to our
shareholders by building a profitable global portfolio of branded footwear, apparel, equipment and accessories businesses. Our strategy is to achieve long-term revenue growth
by creating innovative, "must-have" products, building deep personal consumer connections with our brands and delivering compelling consumer experiences through digital
platforms and at retail.

Since fiscal 2018, through the Consumer Direct Offense and our Triple Double strategy, we have focused on doubling the impact of innovation, increasing our speed and agility
to market and growing our direct connections with consumers. In June 2020, we announced a new digitally empowered phase of the Consumer Direct Offense strategy:
Consumer Direct Acceleration. This strategic acceleration will focus on three specific areas. First, creating the marketplace of the future through more premium, consistent and
seamless consumer experiences that more closely align with what consumers want and need. This strategy will lead with NIKE Digital and our own stores, as well as through
select strategic partners who share our marketplace vision. Second, we will align our product creation and category organizations around a new consumer construct focused
on Men's, Women's and Kids'. This approach allows us to create product that better meets individual consumer needs, including more specialization of our category approach,
while re-aligning and simplifying our offense to accelerate our largest growth opportunities. In particular, we'll be reinvesting in our Women's and Kids' businesses and will also
simplify our operating model across the remainder of the company to optimize effectiveness. Third, we will unify investments in data and analytics, demand sensing, insight
gathering, inventory management and other areas against an end-to-end technology foundation to accelerate our digital transformation. We believe this unified approach will
accelerate growth and unlock more efficiency for our business, while driving speed and responsiveness as we serve consumers globally.

On July 22, 2020, management announced aseries of leadership and operating model changes to streamline and speed up strategic execution. These changes are expected
to lead to a net loss of jobs, resulting in pre-tax, one-time employee termination costs of approximately $200 million to $250 million, which is expected to be incurred primarily
during the first half of fiscal 2021, in the form of cash expenditures. These amounts are subject to change until such time as all details are finalized.

This next phase of our Consumer Direct Offense is expected to drive sustainable growth and profitability as we accelerate NIKE to adigital-first company. We are committed to
the execution of this strategy, despite the short-term adverse impacts to our business from anovel strain of coronavirus (COVID-19). As such, our long-term financial goals on
average, per year, remain the same and are outlined below:


  • High single-digit revenue growth;

  • Gross margin expansion of as much as 50 basis points;

  • Slight selling and administrative expense leverage;

  • Mid-teens earnings per share growth; and

  • Low-thirties percentage rate of return on invested capital.


COVID-19 UPDATE
COVID-19 was first identified in Wuhan, China in December 2019, and subsequently declared a pandemic by the World Health Organization. To date, COVID-19 has surfaced
in nearly all regions around the world and resulted in travel restrictions and business slowdowns or shutdowns in affected areas. As a result, COVID-19 has impacted our
business globally, including through store closures, reduced operating hours and decreased retail traffic. In particular, the outbreak and preventive measures taken to help curb
the spread had material adverse impacts on our operations and business results in Greater China during the third quarter of fiscal 2020, following the temporary closure of, or
reduced operating hours in, approximately 75% of NIKE-owned and partner stores within the region. During the fourth quarter of fiscal 2020, our results of operations were
further impacted as approximately 90% of our NIKE Brand stores across North America, EMEA and APLA, excluding Korea, were closed for approximately 8weeks. The
majority of Converse direct to consumer stores were also closed for asignificant portion of the fourth quarter. Additionally, certain of our wholesale partners closed stores or
reduced operating hours during the fourth quarter, resulting in lower than expected sales and aslowing of receipt of shipments of our products. The combined effect of store
closures and reduced wholesale shipments caused higher than normal inventory levels at May 31, 2020, as Inventories grew 31% compared to the prior year. In order to
manage future inventory growth and ensure a return to normalized levels we are modifying our buying plans and canceling certain pre-COVID-19 factory purchases, shifting
product offer dates to meet near-term demand, as well as shifting available inventory into our digital channel and increasing digital fulfillment capacity specifically in




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North America and EMEA. Additionally, we are investing in targeted promotions and markdowns to accelerate liquidation of excess inventory while continuing to protect the
long-term health of our product franchises.

COVID-19 also impacted our distribution centers, our third-party manufacturing partners and other vendors, including through the effects of facility closures, reductions in
operating hours, labor shortages and real time changes in operating procedures to accommodate social distancing guidelines and additional cleaning and disinfection
procedures.


In response to the uncertainty of the pandemic described above, we enhanced our liquidity position during the fourth quarter through the issuance of $6 billion in senior
unsecured notes, the temporary suspension of our share repurchase program and by entering into anew committed credit facility agreement, which provides for an additional
$2 billion of borrowings. Refer to Liquidity and Capital Resources for additional discussion.

Throughout the third and fourth quarter of fiscal 2020, our digital commerce remained open, supported by the employees in the distribution centers. During the fourth quarter,
NIKE Brand digital remained our fastest growing channel, growing 79% on acurrency-neutral basis with each of our geographies growing over 50%. Beginning in mid-May,
stores within our NIKE Direct operations gradually began reopening. As of July 17, 2020, over 90% of our NIKE Direct stores have reopened across the globe, with 100% open
in Greater China, over 90% open in both EMEA and North America, and APLA open over 70%. As of July 17, 2020, substantially all Converse direct to consumer stores have
reopened to serve consumers.

We continue to monitor the rapidly evolving situation and guidance from international and domestic authorities, including federal, state and local public health authorities and
may take additional actions based on their recommendations. In these circumstances, there may be developments outside our control requiring us to adjust our operating plan.
As such, given the dynamic nature of this situation, the Company cannot reasonably estimate the impacts of COVID-19 on our future financial condition, results of operations
or cash flows. However, we do expect they will have amaterial adverse impact on our future revenue growth as well as our overall profitability and may continue to lead to
higher than normal inventory levels in various markets, revised payment terms with certain of our wholesale customers, higher sales-related reserves, factory cancellation
costs and avolatile effective tax rate driven by changes in the mix of earnings across the Company's jurisdictions.

On March 27, 2020, in response to COVID-19, the United States government enacted the Coronavirus Aid, Relief, and Economic Security Act (the "CARES Act"). The CARES
Act is arelief package consisting of various stimulus measures, such as tax payment deferrals, various business incentives and makes certain technical corrections to the U.S.
Tax Cuts and Jobs Act of 2017. The enactment of such legislation, while favorable, did not have amaterial impact on our fiscal 2020 Consolidated Financial Statements.


FISCAL 2020 OVERVIEW
Fiscal 2020 NIKE, Inc. Revenues declined 4% to $37.4 billion, as revenue growth of 7% for the first nine months of fiscal 2020 was more than offset by a38% decline in the
fourth quarter due to the impacts of COVID-19. The NIKE Brand, which represents over 90% of NIKE, Inc. Revenues, experienced a4% decline, down 2% on acurrency-
neutral basis, driven by declines across nearly all geographies, partially offset by 11% currency-neutral growth in Greater China. NIKE Direct grew 8% on acurrency-neutral
basis driven by 49% growth in digital, with all geographies growing strong double digits, while wholesale revenues declined 7%. Revenues for Converse declined 3% and 1%,
on areported and currency-neutral basis, respectively, as revenue growth in Asia was more than offset by declines in North America, Europe and licensee markets.


Income before income taxes decreased 40% for fiscal 2020, primarily due to lower revenues and gross margin resulting from the impacts of COVID-19, as well as higher
selling and administrative expense. For the first nine months of fiscal 2020, gross margin expanded 30 basis points compared to the first nine months of fiscal 2019. However,
this was more than offset by adecline of 820 basis points in the fourth quarter of fiscal 2020, primarily due the impacts of COVID-19. For fiscal 2020, NIKE, Inc. gross margin
decreased 130 basis points as higher full-price average selling price (ASP), on awholesale equivalent basis, was more than offset by higher product costs due to incremental
tariffs in the U.S., as well as factory cancellation charges, higher inventory obsolescence reserves and the negative rate impacts of supply chain costs on alower volume of
wholesale shipments in the fourth quarter of fiscal 2020. Selling and administrative expense increased, due to higher operating overhead expense partially offset by lower
demand creation expense. Operating overhead expense increased due to higher wage-related expenses, as aresult of our continued investment in end-to-end digital
capabilities, and higher bad debt expense, partially offset by lower travel and related spend. Demand creation expense decreased primarily due to lower retail brand
presentation costs and sports marketing expenses as sporting events were postponed or canceled and amajority of stores were closed globally during the fourth quarter of
fiscal 2020. These decreases were partially offset by higher digital brand marketing costs.


Diluted earnings per common share reflects a2% decline in the weighted average diluted common shares outstanding, driven by our share repurchase program.


As we continue to execute against the Consumer Direct Offense, we are focused on optimizing country operating models across our global portfolio and we remain committed
to investing in our most significant growth opportunities. During the third quarter of fiscal 2020, we announced our intention to sell our NIKE Brand businesses in Brazil,
Argentina, Chile and Uruguay to strategic third-party distributors in an effort to more personally serve consumers in these respective marketplaces while driving


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sustainable, profitable growth. These transactions are expected to close in the first half of fiscal 2021. As a result of this decision, the related assets and liabilities of these
entities were classified as held-for-sale on the Consolidated Balance Sheets as of May 31, 2020. Additionally, we recognized anon-recurring impairment charge of $405
million, within Other (income) expense, net on the Consolidated Statements of Income, classified within Corporate. This charge was primarily due to the anticipated release of
non-cash cumulative foreign currency translation losses, and could fluctuate due to changes in exchange rates up to the date of close. In future quarters, as we shift from a
wholesale and direct to consumer operating model to adistributor operating model within these countries, we expect consolidated NIKE, Inc. and APLA revenue growth will be
reduced due to differences in commercial terms. However, we expect the future operating model to have afavorable impact on our overall profitability as we reduce selling and
administrative expenses, as well as lessen exposure to foreign exchange rate volatility.


On October 29, 2019, we signed adefinitive agreement to sell the assets and liabilities of our wholly-owned subsidiary brand, Hurley. The transaction closed on December 6,
2019, and the impacts of the divestiture are not considered material to the Company.


While foreign currency markets remain volatile, in part due to geopolitical dynamics leading to astronger U.S. Dollar, we continue to see opportunities to drive future growth
and profitability. We remain committed to effectively managing our business to achieve our financial goals over the long-term by executing against the operational strategies
outlined above.


For discussion related to the results of operations and changes in financial condition for fiscal 2019 compared to fiscal 2018 refer to Part II, Item 7. Management's Discussion
and Analysis of Financial Condition and Results of Operations in our fiscal 2019 Form 10-K, which was filed with the United States Securities and Exchange Commission on
July 23, 2019.


USE OF NON-GAAP FINANCIAL MEASURES
Throughout this Annual Report on Form 10-K, we discuss non-GAAP financial measures, including references to wholesale equivalent revenues, currency-neutral revenues, as
well as Total NIKE Brand earnings before interest and taxes (EBIT) and Total NIKE, Inc. EBIT, which should be considered in addition to, and not in lieu of, the financial
measures calculated and presented in accordance with accounting principles generally accepted in the United States of America ("U.S. GAAP"). References to wholesale
equivalent revenues are intended to provide context as to the total size of our NIKE Brand market footprint if we had no NIKE Direct operations. NIKE Brand wholesale
equivalent revenues consist of (1) sales to external wholesale customers and (2) internal sales from our wholesale operations to our NIKE Direct operations, which are charged
at prices comparable to those charged to external wholesale customers. Additionally, currency-neutral revenues are calculated using actual exchange rates in use during the
comparative prior year period to enhance the visibility of the underlying business trends excluding the impact of translation arising from foreign currency exchange rate
fluctuations. EBIT is calculated as Net Income before Interest expense (income), net and Income tax expense in the Consolidated Statements of Income.


Management uses these non-GAAP financial measures when evaluating the Company's performance, including when making financial and operating decisions. Additionally,
management believes these non-GAAP financial measures provide investors with additional financial information that should be considered when assessing our underlying
business performance and trends. However, references to wholesale equivalent revenues, currency-neutral revenues and EBIT should not be considered in isolation or as a
substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP measures used by
other companies.




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RESULTS OF OPERATIONS
(Dollars in millions, except per share data)                                                       FISCAL 2020                 FISCAL 2019                % CHANGE        FISCAL 2018           % CHANGE
Revenues( 1)                                                                                                  37,403       $             39,117                -4 %   $          36,397                    7%
Cost of sales                                                                                                 21,162                     21,643                -2 %              20,441                    6%
      Gross profit                                                                                            16,241                     17,474                -7 %              15,956                   10 %

      Gross marginal                                                                                             43.4%                      44.7%                                   43.8%

Demand creation expense                                                                                         3,592                     3,753                -4 %                3,577                   5%
Operating overhead expense                                                                                      9,534                     8,949                 7%                 7,934                  13 %
      Total selling and administrative expense                                                                13,126                     12,702                 3%               11,511                   10 %

      % of revenues                                                                                               35.1%                     32.5%                                   31.6%

Interest expense (income), net                                                                                      89                        49                                      54
Other (income) expense, net                                                                                       139                        (78)                                     66
Income before income taxes                                                                                      2,887                     4,801               -40 %               4,325                   11 %
Income tax expense(2)                                                                                             348                        772              -55 %                2,392                -68 %

      Effective tax rate                                                                                          12.1%                     16.1%                                   55.3%

NET INCOME(1)                                                                                 $                 2,539      $              4,029               -37 %   $            1,933                108 %
Diluted earnings per common share                                                             $                   1.60     $                2.49              -36 %   $             1.17                113 %
(1)     Fiscal 2020 reflects the impacts of COVID-19 on our results of operations. Refer to discussion of our results below for additional information.

(2)     Fiscal 2018 reflects the impact from the enactment of the U.S. Tax Cuts and Jobs Act. Refer to Note 9— Income Taxes in the accompanying Notes to the Consolidated Financial Statements for additional
        information.



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CONSOLIDATED OPERATING RESULTS

REVENUES

                                                                                                                                             % CHANGE                                      % CHANGE
                                                                                                                                            EXCLUDING                                     EXCLUDING
                                                                                              FISCAL           FISCAL            %          CURRENCY                 FISCAL         %     CURRENCY
(Dollars in millions)                                                                          2020             2019        CHANGE          CHANGES( 1)               2018     CHANGE     CHANGES( 1)

NIKE, Inc. Revenues:

NIKE Brand Revenues by:
      Footwear                                                                            $     23,305     $    24,222               -4 %                   -2 % $    22,268        9%               12 %
      Apparel                                                                                   10,953           11,550              -5 %                   -3 %      10,733        8%               11 %
      Equipment                                                                                   1,280           1,404              -9 %                   -6 %       1,396        1%                4%
      Global Brand Divisions( 2)                                                                     30               42            -29 %               -26 %             88      -52 %             _
                                                                                                                                                                                                    53 %


Total NIKE Brand Revenues                                                                       35,568          37,218               -4 %                   -2 %      34,485        8%               11 %
      Converse                                                                                    1,846           1,906              -3 %                   -1 %       1,886        1%                3%

      Corporate( 3)                                                                                 (11)               (
                                                                                                                       7)                                                 26
TOTAL NIKE, INC. REVENUES                                                                 $     37,403     $    39,117               -4 %                   -2 % $    36,397        7%               11 %

Supplemental NIKE Brand Revenues Details:

NIKE Brand Revenues by:
      Sales to Wholesale Customers                                                        $     23,156     $    25,423               -9 %                   -7 % $    23,969        6%               10 %
                                                                                                                                      5 %
      Sales through NIKE Direct                                                                 12,382           11,753                                     8%        10,428       13 %              16 %
      Global Brand Divisions( 2)                                                                     30               42            -29 %               -26 %             88      -52 %             -53 %
TOTAL NIKE BRAND REVENUES                                                                 $     35,568     $    37,218               -4 %                   -2 % $    34,485        8%               11 %

NIKE Brand Revenues on aWholesale Equivalent Basis:(1)
      Sales to Wholesale Customers                                                        $     23,156     $    25,423               -9 %                   -7 % $    23,969        6%               10 %
      Sales from our Wholesale Operations to NIKE Direct Operations                              7,452            7,127               5%                    7%         6,332       13 %              16 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                            $     30,608     $    32,550               -6 %                   -4 % $    30,301        7%               11 %

NIKE Brand Wholesale Equivalent Revenues by:(1)
      Men's                                                                               $     16,694     $     17,737              -6 %                   -4 % $    16,698        6%               10 %
      Women's                                                                                    6,999            7,380                 %                   -3 %       6,913        7%               11 %
      NIKE Kids'                                                                                 5,033            5,283              -5 %                   -3 %       4,906        8%               11 %
      Others(4)                                                                                   1,882           2,150             -12 %               -10 %          1,784       21 %              25 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                            $     30,608     $    32,550               -6 %                   -4 % $    30,301        7%               11 %

NIKE Brand Wholesale Equivalent Revenues by:( 1)
      Running                                                                             $      3,830     $      4,488             -15 %               -12 % $        4,496        0%                4%
                                                                                                                                                                                                      9 %
      NIKE Basketball                                                                             1,508           1,597              -6 %                   -4 %       1,494        7%
      Jordan Brand                                                                               3,609            3,138              15 %                   16 %       2,856       10 %              12 %
      Football (Soccer)                                                                           1,575           1,894             -17 %               -14 %          2,146      -12 %               -6 %
      Training                                                                                   2,688            3,137             -14 %               -13 %          3,126        0%                3%
      Sportswear                                                                                12,285           12,442              -1 %                    1%       10,720       16 %              21 %
                                                                                                                                                                                                      9 %
      Others( 5)                                                                                 5,113            5,854             -13 %               -10 %          5,463        7%
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                            $     30,608     $    32,550               -6 %                   -4 % $    30,301        7%               11 %

1) The percent change excluding currency changes and the presentation of wholesale equivalent revenues represent non-GAAP financial measures. See "Use of Non-GAAP Financial Measures" for further
(
   Information.
(2)     Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of ageographic operating segment.

3) Corporate revenues primarily consist of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic operating segments and Converse, but managed
(
   through our central foreign exchange risk management program.



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(4)   Others include all unisex products, equipment and other products not allocated to Men's, Women's and NIKE Kids', as well as certain adjustments that are not allocated to products designated by gender or
      age.

(5)   Others include all other categories and certain adjustments that are not allocated at the category level.


FISCAL 2020 NIKE BRAND REVENUE HIGHLIGHTS
The following tables present NIKE Brand revenues disaggregated by reportable operating segment, distribution channel and major product line:

                                                       14%
             North                                    APLA                             65%                                                                                                 Equipment




                                            )
             Arrierica

                                                       19%
                                                                                                                                 „
                                                    Greater
                                                      China                                                                 NIKE
                                                                                                                           Direct




FISCAL 2020 COMPARED TO FISCAL 2019
On acurrency-neutral basis, NIKE, Inc. Revenues declined 2% for fiscal 2020, driven by lower revenues in both the NIKE Brand and Converse as the first nine months of
revenue growth was offset by the impacts of lower shipments to wholesale customers and store closures within our NIKE Direct and Converse direct to consumer operations
due to COVID-19 in the fourth quarter. Revenues for North America declined in fiscal 2020, reducing NIKE, Inc. Revenues by approximately 4percentage points, partially
offset by revenue growth in Greater China contributing approximately 2percentage points.


On acurrency-neutral basis, NIKE Brand footwear revenues decreased 2% for fiscal 2020, driven by declines in nearly all key categories, primarily Running, Sportswear and
Training, partially offset by growth in the Jordan Brand. Unit sales of footwear decreased 8%, partially offset by higher ASP per pair contributing approximately 6percentage
points. The increase in ASP was primarily due to higher full-price and NIKE Direct ASPs, as well as the favorable impact of growth in our NIKE Direct business.


Currency-neutral NIKE Brand apparel revenues decreased 3% for fiscal 2020, due to declines in most key categories, primarily Running, Training and Football (Soccer),
partially offset by growth in Sportswear and the Jordan Brand. Unit sales of apparel decreased 8%, partially offset by higher ASP per unit contributing approximately 5
percentage points. The increase in ASP was primarily due to higher full-price ASP and the favorable impact of growth in our NIKE Direct business.


On areported basis, NIKE Direct revenues represented approximately 35% of our total NIKE Brand revenues for fiscal 2020, compared to 32% for fiscal 2019. Digital
commerce sales were $5.5 billion for fiscal 2020 compared to $3.8 billion for fiscal 2019. On acurrency-neutral basis, NIKE Direct revenues increased 8% for fiscal 2020,
driven by strong digital commerce sales growth of 49%, which more than offset comparable store sales contraction of 12% due to temporary store closures and stores
operating on reduced hours as aresult of COVID-19. Comparable store sales, which exclude digital commerce sales, comprises revenues from NIKE-owned in-line and factory
stores for which all three of the following requirements have been met: (1) the store has been open at least one year, (2) square footage has not changed by more than 15%
within the past year and (3) the store has not been permanently repositioned within the past year. Comparable store sales includes revenues from stores that were temporarily
closed during the period as aresult of COVID-19. Comparable store sales represents aperformance measure that we believe is useful information for management and
investors in understanding the performance of our established NIKE-owned in-line and factory stores. Management considers this metric when making financial and operating
decisions. The method of calculating comparable store sales varies across the retail industry. As aresult, our calculation of this metric may not be comparable to similarly titled
measures used by other companies.


On acurrency-neutral basis, fiscal 2020 NIKE Brand Men's and Women's revenues decreased 4% and 3%, respectively. Lower NIKE Brand Men's revenues were driven by
declines in nearly all key categories, primarily Running and Training, partially offset by growth in the Jordan Brand. Lower NIKE Brand Women's revenues were driven by
declines in most key categories, primarily Running and Training, partially offset by growth in Sportswear and the Jordan Brand. Revenues for our NIKE Kids' business
decreased 3%, as declines primarily in Football (Soccer) more than offset growth in the Jordan Brand.


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GROSS MARGIN

FISCAL 2020 COMPARED TO FISCAL 2019
For fiscal 2020, our consolidated gross profit decreased 7% to $16,241 million compared to $17,474 million for fiscal 2019, which was significantly impacted by lower
shipments to our wholesale customers and store closures within our NIKE Direct operations due to COVID-19. Gross margin decreased 130 basis points to 43.4% for fiscal
2020 compared to 44.7% for fiscal 2019 due to the following:

                                     1.5               (
                                                       110
       4S ,
                 44.7                                   1111              (0.4)
                                                                                                                                   (1.1)
       44
                                                                                                                                                      43.4

        42


       10
                  FY 11          NIKE.GRAND          Put !IRAN()    111REIGN IRR[NCY       nrr PIOT'          NKr 014011        nn ICA inS FS         IN 70
                               AVERAGE SELLING    PRODUCT COSTS      EXCHANGE RATES
                                PFIrCE iNET OF                              HEDC.ZS)
                                 DISCOUNTS:*
*Wholesale equivalent

Higher product costs were in part due to incremental tariffs in North America. Higher other costs, primarily in the fourth quarter of fiscal 2020 due to the impacts of COVID-19,
were specifically related to increased factory cancellations costs, higher inventory obsolescence and the adverse rate impact of supply chain costs on alower volume of
wholesale shipments.



TOTAL SELLING AND ADMINISTRATIVE EXPENSE

(Dollars in millions)                                                                         FISCAL 2020              FISCAL 2019              % CHANGE                 FISCAL 2018             % CHANGE
Demand creation expense(i)                                                                               3,592     $            3,753                         -4%    $            3,577                        5%
Operating overhead expense                                                                               9,534                  8,949                         7%                  7,934                       13%
Total selling and administrative expense                                                               13,126      $           12,702                         3%     $           11,511                       10%
      % of revenues                                                                                       35.1%                   32.5%                   260 bps                  31.6%                     90 bps
(1)     Demand creation expense consists of advertising and promotion costs, including costs of endorsement contracts, complimentary product, television, digital and print advertising and media costs, brand events
        and retail brand presentation.


FISCAL 2020 COMPARED TO FISCAL 2019
Demand creation expense decreased 4% for fiscal 2020 compared to fiscal 2019, due to lower retail brand presentation costs and lower sports marketing investments, as well
as decreased advertising and marketing expenses as sporting events were postponed or canceled and amajority of stores were closed globally during the fourth quarter of
fiscal 2020. These decreases were partially offset by higher digital brand marketing costs. Changes in foreign currency exchange rates decreased Demand creation expense
by approximately 2percentage points for fiscal 2020.


Operating overhead expense increased 7% for fiscal 2020 compared to fiscal 2019, driven by higher wage-related and administrative expenses to support our continued
investments in end-to-end digital capabilities, including support for anew enterprise resource planning tool. Operating overhead expense was further impacted by higher bad
debt expense recognized during the fourth quarter of fiscal 2020 due to the impacts of COVID-19. These increases were partially offset by lower travel and related spend.
Changes in foreign currency exchange rates decreased Operating overhead expense by approximately 1percentage points for fiscal 2020.



OTHER (INCOME) EXPENSE, NET

(Dollars in millions)                                                                                                                       FISCAL 2020                 FISCAL 2019              FISCAL 2018

Other (income) expense, net                                                                                                                               139       $                (78)    $                   66

Other (income) expense, net comprises foreign currency conversion gains and losses from the re-measurement of monetary assets and liabilities denominated in non-
functional currencies and the impact of certain foreign currency derivative instruments, as well as unusual or non-operating transactions that are outside the normal course of
business.



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FISCAL 2020 COMPARED TO FISCAL 2019
Other (income) expense, net changed from $78 million of other income, net for fiscal 2019 to $139 million of other expense, net for fiscal 2020, primarily due to the non-
recurring impairment charge of $405 million related to our planned, strategic distributor partnership transition within APLA. For more information see Note 20 — Acquisitions
and Divestitures within the accompanying Notes to the Consolidated Financial Statements. This was offset by a$121 million net beneficial change in foreign currency
conversion gains and losses, including hedges.


We estimate the combination of the translation of foreign currency-denominated profits from our international businesses and the year-over-year change in foreign currency-
related gains and losses included in Other (income) expense, net had an unfavorable impact on our Income before income taxes of $91 million for fiscal 2020.



INCOME TAXES

                                                                                 FISCAL 2020         FISCAL 2019             % CHANGE        FISCAL 2018             % CHANGE
Effective tax rate                                                                         12.1%               16.1%            (400) bps              55.3%          (3,920) bps

FISCAL 2020 COMPARED TO FISCAL 2019
Our effective tax rate was 12.1% for fiscal 2020, compared to 16.1% for fiscal 2019 due to increased benefits from discrete items such as stock-based compensation.

Our effective tax rate for fiscal 2018 reflected significant changes related to the enactment of the U.S. Tax Cuts and Jobs Act (the "Tax Act"). Refer to Note 9— Income
Taxes in the accompanying Notes to the Consolidated Financial Statements for additional information on the impact of the Tax Act.




OPERATING SEGMENTS
Our operating segments are evidence of the structure of the Company's internal organization. The NIKE Brand segments are defined by geographic regions for operations
participating in NIKE Brand sales activity.


Each NIKE Brand geographic segment operates predominantly in one industry: the design, development, marketing and selling of athletic footwear, apparel and equipment.
The Company's reportable operating segments for the NIKE Brand are: North America; Europe, Middle East & Africa (EMEA); Greater China; and Asia Pacific & Latin America
(APLA), and include results for the NIKE and Jordan brands, with results for the Hurley Brand, prior to its divestiture, included in North America. Refer to Note 20 —
Acquisitions and Divestitures within the accompanying Notes to the Consolidated Financial Statements for additional information. The Company's NIKE Direct operations are
managed within each geographic operating segment. Converse is also areportable operating segment for the Company, and operates predominately in one industry: the
design, marketing, licensing and selling of casual sneakers, apparel and accessories.


As part of our centrally managed foreign exchange risk management program, standard foreign currency exchange rates are assigned twice per year to each NIKE Brand
entity in our geographic operating segments and Converse. These rates are set approximately nine and twelve months in advance of the future selling seasons to which they
relate (specifically, for each currency, one standard rate applies to the fall and holiday selling seasons and one standard rate applies to the spring and summer selling seasons)
based on average market spot rates in the calendar month preceding the date they are established. Inventories and Cost of sales for geographic operating segments and
Converse reflect the use of these standard rates to record non-functional currency product purchases into the entity's functional currency. Differences between assigned
standard foreign currency exchange rates and actual market rates are included in Corporate, together with foreign currency hedge gains and losses generated from our
centrally managed foreign exchange risk management program and other conversion gains and losses.


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The breakdown of revenues is as follows:

                                                                                                                                      % CHANGE                                        % CHANGE
                                                                                                                                     EXCLUDING                                       EXCLUDING
                                                                                                                                     CURRENCY                                        CURRENCY
(Dollars in millions)                                                      FISCAL 2020       FISCAL 2019            % CHANGE         CHANGES( 1)           FISCAL 2018     % CHANGE  CHANGES( 1)
                                                                                                                                                                                              7 %
North America                                                             $       14,484     $       15,902                  -9 %                 -9 % $          14,855          7%
Europe, Middle East & Africa                                                       9,347              9,812                  -5 %                 -1 %             9,242               6%               11 %
Greater China                                                                      6,679              6,208                   8%                 11 °A.            5,134              21 %              24 %
Asia Pacific & Latin America                                                       5,028              5,254                  -4 %                  1%              5,166               2%               13 %
Global Brand Divisions(2)                                                              30                  42               -29 %               -26 %                 88              -52 %            _
                                                                                                                                                                                                       53 %


TOTAL NIKE BRAND                                                                  35,568             37,218                  -4 %                 -2 %            34,485               8%               11 %
                                                                                                                                                                                                         3 %
Converse                                                                            1,846             1,906                  -3 %                 -1 %             1,886               1%
Corporate( 3)                                                                         (11)                  (
                                                                                                            7)                                                        26
TOTAL NIKE, INC. REVENUES                                                 $       37,403     $       39,117                  -4 %                 -2 % $          36,397               7%               11 %

(
1)    The percent change excluding currency changes represents anon-GAAP financial measure. See "Use of Non-GAAP Financial Measures" for further information.

(2)   Global Brand Divisions revenues are primarily attributable to NIKE Brand licensing businesses that are not part of ageographic operating segment.

(
3)    Corporate revenues primarily consist of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic operating segments and Converse, but managed
      through our central foreign exchange risk management program.


The primary financial measure used by the Company to evaluate performance of individual operating segments is EBIT, which represents Net income before Interest expense
(income), net and Income tax expense in the Consolidated Statements of Income. As discussed in Note 17 - Operating Segments and Related Information in the
accompanying Notes to the Consolidated Financial Statements, certain corporate costs are not included in EBIT of our operating segments.


The breakdown of earnings before interest and taxes is as follows:


(Dollars in millions)                                                                   FISCAL 2020                 FISCAL 2019             % CHANGE                  FISCAL 2018             % CHANGE

North America                                                                                     2,899         $          3,925                          -26 %   $          3,600                      9%

Europe, Middle East & Africa                                                                       1,541                    1,995                         -23 %              1,587                     26 %

Greater China                                                                                     2,490                    2,376                           5%                1,807                     31 %

Asia Pacific & Latin America                                                                       1,184                    1,323                         -11 %              1,189                     11 %

Global Brand Divisions                                                                            (3,468)                  (3,262)                         -6 %             (2,658)                   -23 %

TOTAL NIKE BRAND( 1)                                                                              4,646                    6,357                          -27 %              5,525                     15 %

Converse                                                                                             297                      303                          -2 %               310                      -2 %

Corporate                                                                                         (1,967)                  (1,810)                         -9 %             (1,456)                   -24 %
TOTAL NIKE, INC. EARNINGS BEFORE INTEREST AND
TAXES( 1)                                                                                         2,976                    4,850                          _
                                                                                                                                                          39 ok
                                                                                                                                                                             4,379                     11 %

Interest expense (income), net                                                                        89                       49                                              54

TOTAL NIKE, INC. INCOME BEFORE INCOME TAXES                                                       2,887         $          4,801                          -40 %   $          4,325                     11 %
(1)   Total NIKE Brand EBIT and Total NIKE, Inc. EBIT represent non -
                                                                    GAAP financial measures. See "Use of Non -
                                                                                                             GAAP Financial Measures" for further information.




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SIGNATURES
Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned, thereunto duly authorized.

NIKE, INC.
By:           /s/ JOHN J. DONAHOE II
              John J. Donahoe II
              President and Chief Executive Officer

Date:         July 24, 2020

Pursuant to the requirements of the Securities Exchange Act of 1934, as amended, this report has been signed below by the following persons on behalf of the registrant and
in the capacities and on the dates indicated.

SIGNATURE                                                TITLE                                                                      DATE
PRINCIPAL EXECUTIVE OFFICER AND DIRECTOR:
/s/ JOHN J. DONAHOE II
John J. Donahoe II                                       President and Chief Executive Officer                                      July 24, 2020

PRINCIPAL FINANCIAL OFFICER:
/s/ MATTHEW FRIEND
Matthew Friend                                           Executive Vice President and Chief Financial Officer                       July 24, 2020
PRINCIPAL ACCOUNTING OFFICER:
/s/ CHRIS L. ABSTON
Chris L. Abston                                          Vice President and Corporate Controller                                    July 24, 2020
DIRECTORS:
/s/ MARK G. PARKER
Mark G. Parker                                           Director, Chairman of the Board                                            July 24, 2020
/s/ CATHLEEN A. BENKO
Cathleen A. Benko                                        Director                                                                   July 24, 2020
/s/ ELIZABETH J. COMSTOCK
Elizabeth J. Comstock                                    Director                                                                   July 24, 2020
/s/ JOHN G. CONNORS
John G. Connors                                          Director                                                                   July 24, 2020
/s/ TIMOTHY D. COOK
Timothy D. Cook                                          Director                                                                   July 24, 2020
/s/ THASUNDA B. DUCKETT
Thasunda B. Duckett                                      Director                                                                   July 24, 2020
/s/ ALAN B. GRAF, JR.
Alan B. Graf, Jr.                                        Director                                                                   July 24, 2020
/s/ PETER B. HENRY
Peter B. Henry                                           Director                                                                   July 24, 2020
/s/ TRAVIS A KNIGHT
Travis A. Knight                                         Director                                                                   July 24, 2020
/s/ MICHELLE A. PELUSO
Michelle A. Peluso                                       Director                                                                   July 24, 2020
/s/ JOHN W. ROGERS, JR.
John W. Rogers, Jr.                                      Director                                                                   July 24, 2020



                                                                                                                                                           2020 FORM 10-K
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                                                          SUBSIDIARIES OF THE REGISTRANT


Entity Name                                                                                         Jurisdiction of Formation
NIKE European Operations Netherlands B.V.                                                           Netherlands
NIKE Retail Services, Inc.                                                                          Oregon
NIKE Sports (China) Ltd.                                                                            People's Republic of China
NIKE USA, Inc.                                                                                      Oregon


Pursuant to Item 601(b)(21) of Regulation S-K, we have omitted some subsidiaries that, considered in the aggregate as asingle subsidiary, would not constitute a
significant subsidiary as of May 31, 2020 under Rule 1-02(w) of Regulation S-X.
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                                                              Certification of Chief Executive Officer
                                                     Pursuant to Section 302 of the Sarbanes-Oxley Act of 2002

I, John J. Donahoe II, certify that:

     1.    Ihave reviewed this annual report on Form 10-K of NIKE, Inc.;

    2.     Based on my knowledge, this report does not contain any untrue statement of amaterial fact or omit to state amaterial fact necessary to make the
statements made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;

     3.     Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the
financial condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;

     4.     The registrant's other certifying officer and Iare responsible for establishing and maintaining disclosure controls and procedures (as defined in
Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(0 and 15d-15(0) for the
registrant and have:

              a)     designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to
ensure that material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
during the period in which this report is being prepared;

              b)     designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in
accordance with generally accepted accounting principles;

              c)     evaluated the effectiveness of the registrant's disclosure controls and procedures and presented in this report our conclusions about the
effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and

               d)     disclosed in this report any change in the registrant's internal control over financial reporting that occurred during the registrant's most recent
fiscal quarter (the registrant's fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
registrant's internal control over financial reporting; and

     5.     The registrant's other certifying officer and Ihave disclosed, based on our most recent evaluation of internal control over financial reporting, to the
registrant's auditors and the audit committee of the registrant's board of directors (or persons performing the equivalent functions):

               a)    all significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably
likely to adversely affect the registrant's ability to record, process, summarize and report financial information; and

              b)     any fraud, whether or not material, that involves management or other employees who have asignificant role in the registrant's internal control
over financial reporting.




      Dated: July 24, 2020
                                                                                           /s/ John J. Donahoe II

                                                                                           John J. Donahoe II
                                                                                           Chief Executive Officer
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                                                                                                                                                             Exhibit 31.2

                                                              Certification of Chief Financial Officer
                                                     Pursuant to Section 302 of the Sarbanes-Oxley Act of 2002

I, Matthew Friend, certify that:

     1.    Ihave reviewed this annual report on Form 10-K of NIKE, Inc.;

    2.     Based on my knowledge, this report does not contain any untrue statement of amaterial fact or omit to state amaterial fact necessary to make the
statements made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;

     3.     Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the
financial condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;

     4.     The registrant's other certifying officer and Iare responsible for establishing and maintaining disclosure controls and procedures (as defined in
Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(0 and 15d-15(0) for the
registrant and have:

              a)     designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to
ensure that material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
during the period in which this report is being prepared;

              b)     designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in
accordance with generally accepted accounting principles;

              c)     evaluated the effectiveness of the registrant's disclosure controls and procedures and presented in this report our conclusions about the
effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and

               d)     disclosed in this report any change in the registrant's internal control over financial reporting that occurred during the registrant's most recent
fiscal quarter (the registrant's fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
registrant's internal control over financial reporting; and

     5.     The registrant's other certifying officer and Ihave disclosed, based on our most recent evaluation of internal control over financial reporting, to the
registrant's auditors and the audit committee of the registrant's board of directors (or persons performing the equivalent functions):

               a)    all significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably
likely to adversely affect the registrant's ability to record, process, summarize and report financial information; and

              b)     any fraud, whether or not material, that involves management or other employees who have asignificant role in the registrant's internal control
over financial reporting.


      Dated: July 24, 2020
                                                                                              /s/ Matthew Friend
                                                                                              Matthew Friend
                                                                                              Chief Financial Officer
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                                                                                                                                                             Exhibit 32

       Pursuant to 18 U.S.C. Section 1350, as created by Section 906 of the Sarbanes-Oxley Act of 2002, the following certifications are being made to accompany
the Registrant's annual report on Form 10-K for the fiscal year ended May 31, 2020.

Certification of Chief Executive Officer



     Pursuant to 18 U.S.C. Section 1350, as created by Section 906 of the Sarbanes-Oxley Act of 2002, the undersigned officer of NIKE, Inc. (the "Company")
hereby certifies, to such officer's knowledge, that:

      (i) the Annual Report on Form 10-K of the Company for the fiscal year ended May 31, 2020 (the "Report") fully complies with the requirements of
Section 13(a) or Section 15(d), as applicable, of the Securities Exchange Act of 1934, as amended; and

      (ii) the information contained in the Report fairly presents, in all material respects, the financial condition and results of operations of the Company.




      Dated: July 24, 2020
                                                                                          /s/ John J. Donahoe II
                                                                                          John J. Donahoe II
                                                                                          Chief Executive Officer
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      Pursuant to 18 U.S.C. Section 1350, as created by Section 906 of the Sarbanes-Oxley Act of 2002, the following certifications are being made to accompany
the Registrant's annual report on Form 10-K for the fiscal year ended May 31, 2020.

Certification of Chief Financial Officer



     Pursuant to 18 U.S.C. Section 1350, as created by Section 906 of the Sarbanes-Oxley Act of 2002, the undersigned officer of NIKE, Inc. (the "Company")
hereby certifies, to such officer's knowledge, that:

      (i) the Annual Report on Form 10-K of the Company for the fiscal year ended May 31, 2020 (the "Report") fully complies with the requirements of
Section 13(a) or Section 15(d), as applicable, of the Securities Exchange Act of 1934, as amended; and

      (ii) the information contained in the Report fairly presents, in all material respects, the financial condition and results of operations of the Company.




      Dated: July 24, 2020
                                                                                          /s/ Matthew Friend

                                                                                          Matthew Friend
                                                                                          Chief Financial Officer
